     Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 1 of 111
                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                    IN THE UNITED STATES DISTRICT COURT                      March 14, 2019
                     FOR THE SOUTHERN DISTRICT OF TEXAS                    David J. Bradley, Clerk
                              HOUSTON DIVISION



KRISTEN PLAISANCE, ROBBIE                  §
PLAISANCE, RICHIE CORLEY,                  §
CHARLES F. LEEKLEY, BRETT                  §
MORRIS, HENRY NEGRETTE, JIM                §
NESBITT, CINDY SPARACINO,                 §
RICHARD SPARACINO, CHRISTIAN              §
SCHICK, JACK GOSTL, SANTIAGO              §
CORDOVEZ, FLOYD BONE, TOM                 §
HOWLAND, MICHAEL MERNAH,                  §
BEN A. SEALE, JOE SHUPAK,                 §
MARSHALL WHITMER, BILL WALTERS,           §
ROBERT ROIG, JOSEPH C. ROSSO,             §
and ARTHUR D. SECOR,                      §
                                          §       CIVIL ACTION NO. H-17-3741
                    Plaintiffs,           §
                                          §
v.                                        §
                                          §
JOHN D. SCHILLER, JR., D. WEST            §
GRIFFIN, HILL A FEINBERG,                 §
NORMAN M.K. LOUIE, WILLIAM                §
COLVIN, DAVID M. DUNWOODY,                §
CORNELIUS DUPRE II, KEVIN                 §
FLANNERY, SCOTT A. GRIFFITHS,             §
JAMES LaCHANCE, and UHY LLP,              §
                                          §
                    Defendants.           §



                         MEMORANDUM OPINION AND ORDER


        This   action    is   brought    by plaintiffs,       Kristen    Plaisance,

Robbie Plaisance, Rickie Corley, Charles F. Leekley, Brett Morris,

Henry Negrette, Jim Nesbitt,            Cindy Sparacino, Richard Sparacino,

Christian Schick, Jock Gostl,            Santiago Cordovez,      Floyd Bone, Tom

Howland,       Michael   Mernah,   Ben    A.   Seale,   Joe    Shupak,      Marshall

Whitmer, Bill Walters, Robert Roig, Joseph C. Rosso, and Arthur D.
     Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 2 of 111



Secor     (collectively,                "Plaintiffs"),             against defendants,               UHY LLP

("UHY"), and ten individual defendants (collectively, "Individual

Defendants"):            John       D.       Schiller         ("Schiller"),           D.    West         Griffin

("Griffin"),          Hill          A    Feinberg         ("Feinberg"),          Norman          M. K.     Louie

("Louie") ,          William             Colvin           ("Colvin"),          David        M.      Dunwoody

("Dunwoody") ,           Cornelius                Dupre       II    ("Dupre") ,        Kevin        Flannery

("Flannery"), Scott A. Griffiths ("Griffiths"), and James LaChance

("LaChance") ,           for    common            law     fraud     and    alleged         violations         of

§§    10(b) and 20(a) of the Securities Exchange Act of 1934 (Exchange

Act),     15    U.S.C.         §§       78j (b),     78t(a)        and Rule       10b-5          promulgated

thereunder, 17 C.F.R.                    §   240.10b-5, during the period beginning on

September 28, 2007, and ending on December 30, 2016, arising from

statements and representations regarding Energy XXI Ltd. ( "EXXI" or

the "Company" ) .          Plaintiffs also assert claims for violations of

§    20(a) of the Exchange Act, 15 U.S.C.                            §   78t(a), and for breach of

fiduciary duty against the Individual Defendants all of whom served

as members of EXXI's Board of Directors.                                  Pending before the court

are     UHY     LLP' s    Motion             to    Dismiss         ( "UHY' s   MD")        (Docket        Entry

No. 101), Defendant D. West Griffin's Motion to Dismiss the Amended

Complaint ("Griffin's MD") (Docket Entry No. 102) , Defendant Norman

M.K. Louie's Motion to Dismiss the Amended Complaint ("Louie's MD")

(Docket Entry No. 103), Defendant John D. Schiller, Jr.'s Motion to

Dismiss        the   Amended            Complaint          ("Schiller's         MD")        (Docket       Entry

No.    104) ,    and The            Director Defendants'                  Motion       to    Dismiss        the

Amended        Complaint            ("Director            Defendants'          MD")        (Docket        Entry

                                                        -2-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 3 of 111


No. 105).       For the reasons stated below, the defendants' motions to

dismiss will be granted.


                  I.     Procedural History and Alleged Facts

        Plaintiffs initiated this action on September 6,                            2017,    by

filing    in    the    Southern District           of    New    York   a    Complaint       for

Violation of the Federal Securities Law,                        Common Law Fraud,           and

Breach of Fiduciary Duty (Docket Entry No. 1), asserting claims for

fraud and violation of           §   10(b) of the Exchange Act and Rule 10b-5

promulgated       thereunder. against         all       defendants,        and    claims    for

violation of      §    20(a) of the Exchange Act and breach of fiduciary

duty against the Individual Defendants.                    On December 1, 2017, the

Southern District of New York entered an Order pursuant to 28

U.S.C.    §    1404(a)    transferring the action to this court                       (Docket

Entry    No.    52).       On    February    12,    2018,       defendants         moved    for

dismissal (Docket Entry Nos. 85, 86, 89, 93, and 94).                            On March 29,

2018, Plaintiffs filed an Amended Complaint for Violation of the

Federal Securities Law, Common Law Fraud, and Breach of Fiduciary

Duty ("Plaintiffs' Amended Complaint")                    (Docket Entry No.          97) , in

which they reassert             the same claims asserted in their initial

complaint.       On May 18, 2018, defendants filed the pending motions

to dismiss Plaintiffs' Amended Complaint                       (Docket Entry Nos. 101-

105).    On July 16, 2018, plaintiffs filed responses to each of the

pending motions to dismiss              (Docket Entry Nos.             111-115),      and on

August    29,    2018,    defendants     filed replies           in support of          their

motions to dismiss (Docket Entry Nos. 118-122).

                                            -3-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 4 of 111



        Plaintiffs' Amended Complaint alleges that EXXI was founded by

Schiller and Griffin in 2005 to acquire,                         explore,    develop,       and

operate oil and natural gas properties onshore in Louisiana and

Texas and offshore in the Gulf of Mexico Shelf, funded by a $300

million initial public offering of                       common stock traded on the

London        Stock     Exchange       Alternative       Investment   Market        ("AIM") . 1

Plaintiffs allege that Schiller served as EXXI's President, Chief

Executive Officer             ("CEO"),      and member of the Board of Directors

("Board")         from      the     company's     inception     through     and   including

February 2, 2017, when EXXI announced the termination of Schiller's

employment as President, CEO, and member of the Board in a Current

Report filed with the SEC on Form 8-K. 2                       From EXXI's founding in

2005 through and including October 15, 2015, Schiller also served

as Chairman of the Board.                   He was stripped of that title by the

Board on October 9, 2015, following an internal investigation that

found        he   borrowed        funds   from    personal     acquaintances        or    their

affiliates,           some    of     whom     provided    services    to     EXXI    or     its

subsidiaries, and that in 2014 he personally borrowed $3 million

from        defendant       Louie    before     Louie    was   appointed    to    the    Board

effective December 15,                2014. 3     Plaintiffs allege that as EXXI's



        1
      Plaintiffs' Amended Complaint, Docket Entry No. 97, p. 15
~~ 64-65.  All page numbers for docket entries in the record refer
to the pagination inserted at the top of the page by the court's
electronic filing system, CM/ECF.
        2
            Id. at 6    ~   20.



                                                 -4-
   Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 5 of 111



Board        Chairman    and    CEO,     Schiller        signed    the   Company's      annual

reports filed with the SEC on Forms 10-K and 10-K/A. 4

        Plaintiffs allege that defendant Griffin served as EXXI' s

Chief Financial Officer ( "CFO") and Board member from the Company's

inception           through    and   including       October       20,   2014,      when    EXXI

announced Griffin's resignation in a press release and a Current

Report        filed with the SEC on Form 8-K/A on December 1,                              2014,

following BDO USA, LLP's ("BDO") acquisition of the Texas practice

of UHY, which provided independent public accounting services to

EXXI. 5           Plaintiffs   allege     that      as    CFO,    Griffin       signed EXXI' s

quarterly and annual reports filed with the SEC on Forms 10-Q,

10-K, and 10-K/A, and that Griffin is responsible for the content

of the reports that he signed. 6

        Plaintiffs        allege       that   UHY    was       engaged   to     audit   EXXI's

financial statements and to express an opinion on whether those

financial statements fairly presented the financial condition of

the   Company. 7         Specifically,        UHY        was   engaged     to   audit   EXXI's

financial statements for the years ended June 30, 2011, 2012, 2013,

and 2014. 8          Plaintiffs allege that each audit opinion contained

UHY's        opinion that      it audited EXXI's               financial      statements     "in

        4
            Id. ~~ 20-21.
        5
            Id. at 9 ~ 39.
        6
            Id. ~~ 37-38.
        7
            Id. at 19 ~ 85.
        8
            Id.

                                              -5-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 6 of 111



accordance with the standards of the Public Company Accounting
                                                      9
Oversight Board (United States)" (the "PCAOB"),           that it "plan [ned]

and perform [ed]      the audit to obtain reasonable assurance about

whether effective internal control over financial reporting was

maintained in all material respects," 10 and that each audit stated:

"'In our opinion Energy XXI        (Bermuda)    Limited and subsidiaries

maintained,     in all material respects,      effective internal control

over financial reporting' for the year in question." 11

     Plaintiffs allege that in addition to serving on EXXI's Board,

defendant Colvin was Chairman of the Audit Committee and a member

of the Nomination and Governance Committee; 12 defendant Flannery was

a member of the Audit Committee and the Nomination and Governance

Committee; 13 defendant Dunwoody was Chairman of the Remuneration

Committee and a member of the Audit Committee; 14 defendant Griffiths

served on the Audit Commit tee and the Compensation Commit tee; 15

defendant Feinberg was Lead Independent Director, Chairman of the

Nomination and Governance Committee, a member of the Compensation


     9
         Id. at 20 ~ 92.
     10Id. ~ 93.
     11
          Id. at 20-21 ~ 94.
     12
          Id. at 11 ~ 48.
     13
          Id. ~ 49.
     14
          Id. at 11-12 ~ 50.
     15Id. at 12 ~ 51.

                                    -6-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 7 of 111



Committee, and an ex officio member of the Audit Committee; 16 and

defendant Dupre was Chairman of the Compensation Committee and a

member of the Nomination and Governance Committee. 17

       Plaintiffs allege that between 2006 and 2010, EXXI completed

five     major      acquisitions      for    aggregate       cash     consideration   of

approximately $2.5 billion of borrowed funds:                        (1) Marlin Energy,

L.L.C.        ("Marlin")      in   February    2006    for     approximately     $448.4

million; (2) certain Louisiana Gulf Coast producing properties from

affiliates of Castex Energy,                Inc.   ( "Castex Properties")      in June

2006 for approximately $312.5 million;                 (3)   certain Gulf of Mexico

shelf properties from Pogo Producing Company ("Pogo Properties") in

June 2007 for approximately $415.1 million;                     (4)    certain Gulf of

Mexico shelf oil and natural gas interests from MitEnergy Upstream

LLC, a subsidiary of Mitsui & Co., Ltd.               ("MitEnergy        Interests") in

November 2009 for $276.2 million; and                  (5)    certain shallow water

Gulf of Mexico shelf oil and natural gas interests from affiliates

of Exxon Mobil Corporation ("ExxonMobil Acquisition") in December

2010 for $1.01 billion. 18

       Plaintiffs allege that on July 31,                    2007,    following EXXI' s

acquisition of the Pogo Properties in June of 2007, EXXI announced

that in addition to trading on the AIM in London, its common stock


       16
            Id.   ~ 52.

       17
            Id. at 12     ~ 53.

       18
            Id. at 16     ~~ 69-71.

                                             -7-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 8 of 111


was   approved     for   trading   in   the   United    States   on   the   NASDAQ

national exchange. 19       Plaintiffs allege that on August 12,             2011,

EXXI's common stock was listed for trading on the NASDAQ Global

Select Market under the symbol "EXXI. " 20             Plaintiffs allege that

because many institutional investors are prohibited from investing

in companies that do not meet certain minimum requirements such as

the requirements needed to be listed on the NASDAQ Global Select

Market      exchange,    listing   thereon    gave   EXXI   greater   access     to

capital and increased market liquidity. 21             Plaintiffs assert their

belief that after a reasonable opportunity for discovery, evidence

will show that but for EXXI's use of cash flow hedge accounting,

EXXI would not have met the minimum requirements for listing on the

NASDAQ Global Select Market. 22

      Plaintiffs allege that from 2010 to 2013 EXXI made optimistic

and positive statements about its ultimately unsuccessful ultra-

deep exploration program,          particularly the Davy Jones No.          1   and

No. 2 wells, that were false and misleading when made. 23

      Plaintiffs allege that in early 2014 defendants caused EXXI to

acquire EPL,      an independent oil and natural gas exploration and

production company, and assert their belief that after a reasonable

      19
           Id. at 16-17 ~ 72.
      2oid. at 17 ~ 73.
      21
           Id. ~ 74.
      22Id. ~ 76.

      23Id. at 25-32 ~~ 108-43.

                                        -8-
   Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 9 of 111



opportunity for discovery evidence will show that Schiller pursued

the acquisition without customary and reasonable due diligence, and

consequently      that    EXXI    overpaid      for   EPL, 24   that    following    the

acquisition one of EPL's Board of Directors, defendant Griffiths,

joined EXXI's Board and changed EPL's method of accounting from

successful      efforts      to   full   cost     accounting      to    match   EXXI's

accounting      method, 25    EXXI' s    reported     goodwill     rose    from     zero

reported    in EXXI' s       financial    statements      from    the   period ended

March 31,      2014,   shortly before the acquisition,             to $329 million

reported by EXXI in its June 30, 2014, financial statements filed

immediately after the acquisition. 26

      Plaintiffs allege that following EXXI's acquisition of EPL,

EXXI issued financial statements that were false and misleading

because EXXI failed to perform a quantitative goodwill impairment

test and therefore failed to recognize goodwill impairments for EPL

or for its other oil and gas properties 27 and failed to disclose the

existence of a personal loan from defendant Louie to defendant

Schiller. 28

     Plaintiffs allege that on or about December 14,                       2014,    EXXI

common stock was cancelled for trading on the AIM in London by


     24Id. at 33-34 ~~ 147-155.

     25Id. at 35-36 ~~ 159-68.

     26Id. at 37 ~ 173.

     27Id. at 38-49 ~~ 176-230.

     2Bid. at 56 ~~ 269-70.

                                          -9-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 10 of 111



action of the Board taken pursuant to a shareholder vote at the

annual meeting held on November 4, 2014. 29

        Plaintiffs         allege    that   in September of             2015,   following   a

change in independent auditors, EXXI was required to restate more

than four years of financial statements to eliminate the use of

hedge        accounting. 30         Plaintiffs      allege       that    EXXI's    financial

statements for the years ended June 30, 2011, 2012, 2013, 2014, and

2015,        filed with the         SEC on August         26,    2011,    August   9,   2012,

August 21, 2013, August 28 and December 23, 2014, and September 29,

2015, were materially false and misleading because they stated that

EXXI did not use hedging for speculative or trading purposes. 31

Plaintiffs allege that "[u]ntil EXXI's financial statements were

corrected on September 29,                  2015,   the     Company's publicly filed

financial statements for at least the years ended June 30, 2011,

2012,        2013,   and    2014,     and   for     all    the    intervening      quarters

materially misstated and did not fairly and accurately present the

Company's financial            condition and its results of operations. " 32

Plaintiffs also allege that

        EXXI's disclosure that it was required to restate its
        financial statements to eliminate cash flow hedge
        accounting was materially false and misleading because it
        made it appear that the reason for the restatement was a


        29Id. at 18 ~ 78.

        3oid. at 17-18 ~ 77.
        31
             Id. at 52 ~ 249.
        32Id. at 54 ~ 257.

                                             -10-
     Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 11 of 111



        mere technical deficiency in documentation, when the true
        reason for the restatement was that the Company was
        hedging for improper purposes, including speculating on
        future oil and natural gas prices or manipulating
        reported revenue and earnings . 33

        Plaintiffs       allege      that     on     April   16,   2016,     EXXI   sought

protection from its creditors by filing a voluntary Chapter 11

bankruptcy petition in the Southern District of Texas. 34

        Plaintiffs allege that on April 20, 2016, EXXI was informed by

the Listing Qualifications Department of NASDAQ that                           its stock

would be delisted from the NASDAQ for failure to meet the minimum

listing qualifications. 35

        Plaintiffs allege that on December 13, 2016,                       the Bankruptcy

Court for the Southern District of Texas approved EXXI's amended

plan of reorganization. 36


                              II.     Standards of Review

        Defendants argue that Plaintiffs' Amended Complaint should be

dismissed pursuant to Federal Rule of Civil Procedure 12(b) (6) for

failure        to state a     claim for which relief may be granted.                     A

Rule 12(b) (6) motion tests the formal sufficiency of the pleadings

and is "appropriate when a defendant attacks the complaint because

it    fails      to   state   a     legally    cognizable      claim."        Ramming   v.


        33Id. at 54-55 ~ 259.
        34
             Id. at 68-69 ~ 328.
        3sid. at 18 ~ 79.

        36Id. ~ 81.

                                              -11-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 12 of 111



United States, 281 F.3d 158, 161 (5th Cir. 2001), cert. denied sub

nom.    Cloud v. United States,            122 S.       Ct.   2665       (2002).            The court

must accept the factual allegations of the complaint as true, view

them in a light most favorable to the Plaintiffs,                                 and draw all

reasonable inferences in the Plaintiffs' favor.                             Id.        To defeat a

motion to dismiss pursuant to Rule 12(b) (6) a plaintiff must plead

"enough facts to state a claim to relief that is plausible on its

face."     Bell Atlantic Corp.             v.     Twombly,      127 S.          Ct.    1955,       1974

(2007).    "A claim has facial plausibility when the plaintiff pleads

factual    content     that    allows       the       court   to     draw       the     reasonable

inference that the defendant is liable for the misconduct alleged."

Ashcroft v. Igbal, 129 S. Ct. 1937, 1949 (2009)                             (citing Twombly,

127 S. Ct. at 1965).           "The plausibility standard is not akin to a

'probability      requirement,'       but        it    asks    for       more     than a          sheer

possibility that a defendant has acted unlawfully."                                   Id.    (quoting

Twombly, 127 S. Ct. at 1965) .             "Where a complaint pleads facts that

are    'merely consistent with'            a defendant's liability,                         it   'stops

short     of   the    line    between       possibility            and      plausibility               of

entitlement to relief.'"              Id.       (quoting Twombly,               127 S.           Ct.   at

1966).

        When considering a motion to dismiss courts generally are

limited to the complaint and its proper attachments.                                        Dorsey v.

Portfolio      Equities,      Inc.,   540       F. 3d 333,         338    (5th        Cir.       2008).

Courts may also rely on "'documents incorporated into the complaint

by reference,        and matters      of        which a       court may          take        judicial

                                            -12-
     Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 13 of 111


notice."'       Id.    See also Lone Star Fund V (U.s.) , L. P. v. Barclays

Bank PLC,       594 F.3d 383,      387     (5th Cir.      2010)   (When considering a

motion     to    dismiss,     "[t]he       court's     review     is   limited    to   the

complaint,       any    documents      attached      to    the    complaint,     and   any

documents attached to the motion to dismiss that are central to the

claim and referenced by the complaint.")                   (citing Collins v. Morgan

Stanley Dean Witter,          224 F. 3d 496,       498-99      (5th Cir.    2000)).     In

securities cases courts may take judicial notice of the contents of

public disclosure documents that are required by law to be filed

and are filed with the SEC with the caveat that these documents may

be considered only for the purpose of determining what statements

they     contain;      not   for   proving     the     truth      of   their   contents.

Lovelace v. Software Spectrum Inc., 78 F.3d 1015, 1018 & n.1 (5th

Cir. 1996)      (citing and adopting rule of Kramer v. Time Warner Inc.,

937 F.2d 767, 774 (2d Cir. 1991), and explaining that rule does not

apply to other forms           of disclosure         such as press         releases and

announcements at shareholder meetings) .


                                    III.     Analysis

        Defendants argue that all of the claims asserted against them

should be dismissed because Plaintiffs have failed to state a claim

for which relief may be granted.


A.      Federal Securities Law Claims

        Defendants argue that the securities claims asserted against

them should be dismissed because Plaintiffs have failed to satisfy

                                            -13-
     Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 14 of 111



the pleading requirements for stating either a primary claim under

§ lO(b)      or Rule lOb-S,       or a   claim for control person liability

under§ 20(a), and because the factual allegations do not satisfy

the pleading requirements of Federal Rule of Civil Procedure 9(b)

or the Private Securities Litigation Reform Act ( "PSLRA") set forth

at lS U.S.C. § 78u-4(b).


        1.     Applicable Law

               (a)    Federal Securities Law

        Section lO(b) of the Exchange Act makes it unlawful for any

person:

        To use or employ, in connection with the purchase or sale
        of any security          any manipulative or deceptive
        device or contrivance in contravention of such rules and
        regulations as the [SEC] may prescribe as necessary or
        appropriate in the public interest or for the protection
        of investors.

lS U.S.C. § 78j (b).        Rule lOb-S makes it unlawful for any person,

directly or indirectly:

        (a) To employ any device, scheme, or artifice to defraud,

        (b) To make any untrue statement of a material fact or to
        omit to state a material fact necessary in order to make
        the statements made, in the light of the circumstances
        under which they were made, not misleading, or

        (c) To engage in any act, practice, or course of business
        which operates or would operate as a fraud or deceit upon
        any person, in connection with the purchase or sale of
        any security.

17    C.F.R.    §    240.10b-S.    To    recover damages   for   violations     of

§ lO(b) and Rule lOb-S, plaintiffs must prove


                                         -14-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 15 of 111



        "(1) a material misrepresentation or omission by the
        defendant; ( 2) scienter; ( 3) a connection between the
        misrepresentation or omission and the purchase or sale of
        a security; (4) reliance upon the misrepresentation or
        omission; (5) economic loss; and (6) loss causation."

Halliburton Co. v. Erica P. John Fund, Inc., 134 S. Ct. 2398,                                    2407

(2014).     See also Owens v. Jastrow,                     789 F.3d 529,        535       (5th Cir.

2015)    (same) .      To satisfy the materiality requirement, "there must

be a substantial likelihood that the disclosure of the omitted fact

would     have    been       viewed    by    the     reasonable        investor          as   having

significantly           altered       the    'total        mix'   of        information          made

available."         TSC Industries,           Inc.    v.    Northway,        Inc.,       96 S.    Ct.

2126,    [449]    (1976)      (citing Basic Inc. v. Levinson, 108 S. Ct. 978,

[231]    (1988)).       The Fifth Circuit has stated that "[m]ateriality is

not     judged    in    the    abstract,       but    in    light      of    the     surrounding

circumstances."             Krim v. BancTexas Group, Inc., 989 F.2d 1435, 1448

(5th Cir.        1993).        Inclusion of        cautionary language along with

disclosure of any firm-specific adverse facts or assumptions is

relevant to the materiality inquiry, but "cautionary language as

such is not per se dispositive of this inquiry."                               Rubinstein v.

Collins, 20 F.3d 160, 168 (5th Cir. 1994).

        Scienter       is    "a mental       state    embracing        intent      to deceive,

manipulate, or defraud."               Tellabs, Inc. v. Makor Issues & Rights,

Ltd.,    127 S.        Ct.    2499,   2507     (2007}       (quoting Ernst           &    Ernst v.

Hochfelder, 96 S. Ct. 1375, 1381, n.12 (1976)}.                             Scienter does not

require a specific intent to deceive; instead,


                                              -15-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 16 of 111



        the scienter element of a federal securities fraud claim
        may be satisfied by proof that the defendant acted with
        severe recklessness, which is "limited to those highly
        unreasonable omissions or misrepresentations that involve
        not merely simple or even inexcusable negligence, but an
        extreme departure from the standards of ordinary care,
        and that present a danger of misleading buyers or sellers
        which is either known to the defendant or is so obvious
        that the defendant must have been aware of it."

Tuchman v. DSC Communications Corp., 14 F.3d 1061, 1067 (5th Cir.

1994)    (quoting Shushany v. Allwaste, Inc., 992 F.2d 517, 521 (5th

Cir. 1993)).      Plaintiffs "must allege facts sufficient to raise a

strong    inference      of   scienter     with    respect      to   each   individual

defendant."      R2 Investments LDC v. Phillips, 401 F.3d 638, 643 (5th

Cir.    2005)    (citing Southland Securities             Corp.      v.   INSpire    Ins.

Solutions,      Inc., 365 F.3d 353, 365           (5th Cir. 2004)         (holding that

plaintiffs claiming securities fraud against multiple defendants

must "distinguish among those they sue and enlighten each defendant

as to his or her particular part in the alleged fraud")).                           Group

allegations that "the defendants" or "the company" knew something

do not meet       that   standard.        Southland,      365   F.3d at      366.     The

factual    allegations        contained in       the   entire    complaint     must    be

considered in determining whether plaintiffs' allegations raise a

strong inference of           scienter.                To withstand a        motion to

dismiss, the facts alleged must permit an inference of intentional

deception that is at least equally as compelling as any alternative

inference.       Lormand v. US Unwired,           Inc.,   565 F.3d 228,       254     (5th

Cir. 2009)      (quoting Tellabs, 127 S. Ct. at 2499, 2510).


                                          -16-




                                                                                             ;;
    Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 17 of 111



        Plaintiffs must show a causal connection between the company's

revealing of the truth regarding an earlier misrepresentation and

a   subsequent decline in the company's stock price.                             See Alaska

Electrical Pension Fund v. Flowserve Corp., 572 F.3d 221, 229 (5th

Cir.    2009).      This corrective disclosure must be "related to" or

"relevant to" the alleged fraud, meaning the disclosed information

must make the existence of the alleged fraud "more probable than it

would be without that alleged fact."                   Public Employees' Retirement

System of Mississippi, Puerto Rico Teachers' Retirement System v.

Amedisys,       Inc.,    769 F.3d 313, 321           (5th Cir.   2014),    cert. denied,

135    S.   Ct.     2892    (2015).       The   corrective       disclosure        "can   be

gradually perceived in the marketplace through a series of partial

disclosures."           Id. at 322.     Partial disclosures are viewed collec-

tively and considered as a whole to determine when cumulative facts

support     a     corrective disclosure         that     meets    the     loss    causation

pleading standard.           Id. at 325.

       The parties agree that the applicable statute of limitations

and repose is 28 U.S.C.          §    1658(b) . 37     Under 28 U.S.C.      §    1658(b) an

action for securities fraud must be brought no later than two years

after the discovery of the facts constituting the violation or five

years after the occurrence of the violation, whichever is earlier.


       37
      See, e.g., Director Defendants' MD, Docket Entry No. 105,
pp. 29-30, and Plaintiffs' Memorandum of Law in Opposition to the
Director   Defendants'  Motion   to   Dismiss   Amended  Complaint
("Plaintiffs' Opposition to Director Defendants' MD"), Docket Entry
No. 115, p. 26.

                                            -17-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 18 of 111


The    period      of    repose        begins        to    run     from        the    date       of     the

misrepresentation           or    omission              that     forms       the     basis       of     the

securities law violation.                Hall v. Variable Annuity Life Insurance

Co., Civil Action No. H-11-3639, 2012 WL 12877431, at *4 (S.D. Tex.

May 31, 2012), aff'd, 727 F.3d 372                         (5th Cir. 2013)            (citing In re

Exxon Mobil Corp. Securities Litigation, 500 F.3d 189, 199-200 (3d

Cir. 2007)       ("[W]e hold that the repose period applicable to§ 10(b)

claims as set out in§§ 9(e) and 1658(b) (2) begins to run on the

date of the alleged misrepresentation.").                          Because Plaintiffs filed

this    action      on     September          6,     2017, 38     the        date    of     repose       is

September 6, 2012.           Plaintiffs state that they "do not assert any

claims for any false,             misleading,             or incomplete statements made

prior to that date." 39           Nevertheless, citing Rubinstein, 20 F.3d at

170    n.41,      Plaintiffs          argue        that    "to    the        extent       that    untrue

statements       were    made     prior        to    September          6,    2012,       about       which

Defendants had a duty to correct -                             such as EXXI' s            2 011 annual

report, which improperly utilized hedge accounting - the omission

of a corrective disclosure in subsequent statements made after that

date are actionable." 40

       In      Rubinstein,       20     F.3d       at     170    n.41,        the    Fifth       Circuit

acknowledged        that    defendants             have    a    duty under           Rule    lOb-S       to


       38
      See Complaint for Violation of the Federal Securities Law,
Common Law Fraud, and Breach of Fiduciary Duty, Docket Entry No. 1.
       39
      Plaintiffs' Opposition to Director Defendants'                                       MD,    Docket
Entry No. 115, p. 26.
       4oid.

                                                   -18-
     Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 19 of 111



correct        statements    if    those   statements       have   become materially

misleading in light of subsequent events, but the Rubinstein court

neither held nor stated that material omissions made before the

date of repose remain actionable because defendants have an ongoing

duty to correct such omissions.             Plaintiffs' argument that material

omissions        made     before     the   date    of   repose     are     nevertheless

actionable because defendants had an ongoing duty to correct those

omissions would negate the five-year statute of repose by allowing

plaintiffs to revive time-barred claims simply by asserting that

defendants had an ongoing duty to correct their material omissions.

Any claims based on misrepresentations or omissions allegedly made

before September 6, 2012, are therefore barred by the statute of

repose.        See Hall, 2012 WL 12877431, at *4 (citing Malhotra v. The

Equitable        Life    Assurance     Society     of   the    United      States,       364

F.     Supp.    2d 299,     305-06    (E.D.N. Y.    2005)     (granting defendants'

12(b) (6) motion on the ground that the statute of repose began to

run on the day of the initial omission) .


                (b)     Federal Rule of Civil Procedure 9(b)

          Rule 9(b)     provides that "[i]n alleging fraud or mistake,                     a

party must state with particularity the circumstances constituting

fraud or mistake.          Malice, intent, knowledge, and other conditions

of a person's mind may be alleged generally."                       Fed.    R.   Ci v.   P.

9 (b) .     Plaintiffs must plead the elements of their Rule 10b-5

claims with particularity.             See Goldstein v. MCI WorldCom, 340 F.3d

                                           -19-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 20 of 111


238,   245      (5th Cir.      2003)    (citing Williams v.           WMX Technologies,

Inc., 112 F.3d 175, 177 (5th Cir.), cert. denied, 118 S. Ct. 412

(1997)).        Particularity is required so that the complaint provides

defendants with fair notice of the plaintiffs'                           claims,    protects

defendants from harm to their reputation and goodwill, reduces the

number     of    strike     suits,      and     prevents       plaintiffs     from       filing

baseless claims and then attempting to discover unknown wrongs.

See Tuchman, 14 F.3d at 1067.

       Pleading fraud with particularity in this circuit requires

"the   particulars        of      'time,   place,       and     contents    of     the    false

representations, as well as the identity of the person making the

misrepresentation and what [that person] obtained thereby.'"                                Id.

at 1068      (quoting Tel-Phonic Services,                   Inc. v. TBS International,

Inc., 975 F.2d 1134, 1139 (5th Cir. 1992)).                         See also Carroll v.

Fort James Corp.,           470 F.3d 1171,            1174    (5th Cir.    2006)     (quoting

United States ex rel. Riley v. St. Luke's Episcopal Hospital, 355

F.3d 370,       381   (5th Cir.        2004)     ("In cases concerning fraudulent

misrepresentation           and    omission      of     facts,    Rule     9(b)    typically

requires the claimant to plead the type of facts omitted, the place

in which the omissions should have appeared, and the way in which

the omitted facts made the representations misleading.")) .                                  "A

dismissal for failure to plead fraud with particularity as required

by rule 9(b) is a dismissal on the pleadings for failure to state

a claim."       Southland, 365 F.3d at 361 (citing Shushany, 992 F.2d at

520-520).

                                               -20-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 21 of 111


            (c)    Private Securities Litigation Reform Act

     In 1995 Congress amended the Exchange Act through the passage

of the PSLRA, 15 U.S.C.      §   78u-4(b) (1).     In relevant part the PSLRA

provides:

     (1)    Misleading statements and omissions

     In any private action arising under this chapter in which
     the plaintiff alleges that the defendant--

            (A)   made an untrue statement of a material fact;        or

            (B) omitted to state a material fact necessary in
            order to make the statements made, in the light of
            the circumstances in which they were made, not
            misleading;

     the complaint shall specify each statement alleged to
     have been misleading, the reason or reasons why the
     statement is misleading, and, if an allegation regarding
     the statement or omission is made on information and
     belief, the complaint shall state with particularity all
     facts on which that belief is formed.

     (2)    Required state of mind

            (A) In general

            Except as provided in subparagraph (B), in any
            private action arising under this chapter in which
            the plaintiff may recover money damages only on
            proof that the defendant acted with a particular
            state of mind, the complaint shall, with respect to
            each act or omission alleged to violate this
            chapter, state with particularity facts giving rise
            to a strong inference that the defendant acted with
            the required state of mind.



     (3)    Motion to dismiss; stay of discovery

            (A)   Dismissal       for    failure    to   meet   pleading
            requirements

            In any private action arising under this chapter,
            the court shall, on the motion of any defendant,

                                        -21-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 22 of 111


             dismiss the complaint if the requirements              of
             paragraphs (1) and (2) are not met.

15 U.S.C.    §   78u-4 (b).

     In ABC Arbitrage Plaintiffs Group v. Tchuruk,           291 F.3d 336,

350 (5th Cir. 2002), the court coalesced the pleading requirements

in the PSLRA and Rule 9(b) into a succinct directive for litigants:

     [A] plaintiff pleading a false or misleading statement or
     omission as the basis for a section 10(b) and Rule 10b-5
     securities fraud claim must, to avoid dismissal pursuant
     to   Rule    9(b) and   15   U.S.C.  §§   78u-4(b) (1)  &
     78u-4(b) (3) (A):

     (1)  specify each statement alleged to have                 been
     misleading, i.e., contended to be fraudulent;

     (2) identify the speaker;

     (3) state when and where the statement was made;

     (4) plead with particularity the contents of the false
     representations;

     (5) plead with particularity what the person making the
     misrepresentation obtained thereby; and

     (6) explain the reason or reasons why the statement is
     misleading, i.e., why the statement is fraudulent.

     This is the "who, what, when, where, and how" required
     under Rule 9 (b) in our securities fraud jurisprudence and
     under the PSLRA.    Additionally, under 15 U.S.C. § 78u-
     4(b) (1), for allegations made on information and belief,
     the plaintiff must:

     ( 7) state with particularity all facts on which that
     belief is formed, i.e., set forth a factual basis for
     such belief.

     In Indiana Electric Workers' Pension Fund IBEW v. Shaw Group,

Inc., 537 F.3d 527, 533 (5th Cir. 2008), the Court reiterated that

the PSLRA heightened the pleading standards for private claims of

securities       fraud   by   requiring    plaintiffs   to   allege      with

                                    -22-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 23 of 111



particularity           why       each    one    of     defendants'            representations       or

omissions was misleading under 15                           u.s. c.      §    78u-4 (b) (1),   and by

requiring plaintiffs to plead with particularity those facts giving

rise   to a        strong         inference      that       the       defendant     acted with the

required state of mind under 15 U.S.C.                            §   78u-4(b) (2).        In Tellabs,

127 S. Ct. at 2510, the Supreme Court held that a complaint will

survive a motion to dismiss "only if a reasonable person would deem

the inference of scienter cogent and at least as compelling as any

opposing      inference            one    could        draw       from       the   facts    alleged."

However, in Lormand, 565 F.3d at 267, the Fifth Circuit held that

the PSLRA did not heighten pleading standards for all six elements

of securities fraud.                 The Fifth Circuit explained that the plain

text of 15 U.S.C.             §    78u-4(b) (4) provides only that "the plaintiff

shall have the burden of proving that the act or omission of the

defendant .             . caused the loss for which the plaintiff seeks to

recover damages."                  Id.   at 255 n.18.                 Nothing in this language

expressly or impliedly heightens the standard of pleading to loss

causation.         Thus, when considering a motion to dismiss, courts are

"not authorized or required to determine whether the plaintiff's

plausible inference of                   loss    causation            [under 15 U.S.C.         §   78u-

4(b) (4)]     is     equally         or       more    plausible          than      other    competing

inferences,        as    [they]      must in assessing allegations of scienter

under the PSLRA."                 Id. at 267.

       The   PSLRA contains               a    safe harbor provision that protects

individuals         and           corporations          from           liability      for      certain

                                                     -23-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 24 of 111



forward-looking statements that later prove false.                                To qualify for

this protection the statement at issue must be                                "accompanied by

meaningful cautionary statements identifying important factors that

could cause actual results to differ materially from those in the

forward-looking statement" or be "immaterial."                               15   u.s.c.    §   78u-

5 (c) (1) (A) (i,       ii).      "To avoid the safe harbor,                 plaintiffs must

plead facts demonstrating that the statement was made with actual

knowledge of its falsity."                     Southland, 365 F.3d at 371 (citing 15

U.S.C.      §   78u-5 (c) (1) (B)      i    Nathenson v. Zonagen Inc., 267 F.3d 400,

409 (5th Cir. 2001)).


      2.         Application of the Law to the Alleged Facts

                 (a)     Defendant UHY

      UHY argues that the federal securities law claims asserted

against         it     should     be        dismissed      because     Plaintiffs'         Amended

Complaint            fails   to   allege        facts      capable     of    establishing         an

actionable misstatement or omission of fact arising from its audit

opinions or a strong inference of scienter. 41                        UHY also joins in the

arguments presented in the Director Defendants' MD with respect to

the   securities             fraud         claims    regarding       group    pleading,         loss

causation, and the statute of repose. 42



      41
      UHY's MD, Docket Entry No. 101, p. 12.    See also UHY LLP's
Reply in Support of the Motion to Dismiss the Amended Complaint
(UHY's Reply"), Docket Entry No. 119, pp. 6-15.
      42
           UHY' s MD, Docket Entry No. 101, p. 7 n. 2.

                                                    -24-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 25 of 111




                     (1)   Alleged Misstatements and Omissions

     Citing         Omnicare,   Inc.      v.    Laborers        District       Council

Construction Industry Pension Fund,              135 S.   Ct.    1318    (2015),       UHY

asserts that its audit reports are statements of opinion, not fact,

and argues      that   the   securities    law claims      asserted against             it

should be dismissed because plaintiffs fail to allege an actionable

misstatement or omission of fact arising from its audit reports. 43

At least one court in this district has held that audit reports are

statements     of    opinion,   not    fact,    and   plaintiffs    do     not    argue

otherwise.     See Johnson v. CBD Energy Ltd., Civil Action H-15-1668,

2016 WL 3654657,       at *10   (S.D.    Tex.   July 6,    2016)   ("an auditor's

'statement     regarding                compliance     inherently       [is]     one   of

opinion'").     Nevertheless, without addressing the applicability of

the Supreme Court's Omnicare opinion, plaintiffs respond that UHY' s

     argument ignores the fact that Plaintiffs have alleged
     materially false and misleading statement [s] in UHY' s own
     audit reports. As alleged in the Amended Complaint, each
     of the Company's annual financial statements included an
     affirmative statement prepared by UHY that it audited the
     financial statements "in accordance with the standards of
     the [PCAOB] (United States) . "   ~ 92.  Plaintiffs also
     allege UHY represented that it planned and performed the
     audits to obtain reasonable assurance about whether the
     Company maintained effective internal control over its
     financial reporting.   ~ 93.  And UHY also affirmatively
     represented in each audit report that EXXI maintained
     effective internal control over its financial reporting.
     ~ 94.




     43
          Id. at 20.

                                        -25-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 26 of 111


             As alleged in the Amended Complaint,          and as
        explained above, those statement [s] were materially false
        and misleading, and UHY had no basis for making them. 44

Asserting        that    UHY audited EXXI' s         annual      financial       statements

included in EXXI's 2011, 2012, 2013, and 2014 annual reports filed

with     the     SEC     on   Form    10-K,     plaintiffs      allege    that      "[t] hose

financial statements were erroneous," 45 because

        [a] s EXXI announced in a press release and a Current
        Report on Form 8-K filed with the SEC on September 8,
        2015,   the Company's previously issued consolidated
        financial statements for the years ended June 30, 2011,
        2012,   2013 and 2014,    along with its consolidated
        financial statements for the quarters ended September 3 o,
        2013 and 2014, December 31, 2013 and 2014, March 31, 2014
        and 2015, and June 30, 2014, should no longer be relied
        upon and would be reinstated.   ~ 83. 46

        In     Omnicare       the   Court     clarified   how    trial    courts      should

evaluate whether a plaintiff has alleged an actionably misleading

statement of opinion.               Omnicare provides "two potential avenues for

plaintiffs to establish the falsity of an opinion."                                 In re   BP

p.l.c.        Securities Litigation,           2016 WL 3090779,          at   *9.     First,

"every            . statement [of opinion]           explicitly affirms one fact:

that the speaker holds the stated belief."                   Omnicare, 135 S. Ct. at

1327.         A speaker can be liable for an opinion statement if the

speaker did not in fact hold that opinion.                      Second, "depending on

the circumstances," a reasonable investor could


        44
      Plaintiffs' Memorandum of Law in Opposition to Defendant UHY
LLP's Motion to Dismiss Amended Complaint ("Plaintiffs' Opposition
to UHY's MD"), Docket Entry No. 111, p. 17.
        45
             Id. at 5.
        46
             Id. at 5-6.

                                              -26-
     Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 27 of 111


        understand an opinion statement to convey facts about the
        speaker's basis for holding that view. Specifically, [a
        speaker's] statement of opinion may fairly imply facts
        about the inquiry the issuer conducted or the knowledge
        it had.   And if the real facts are otherwise, but not
        provided, the opinion statement will mislead by omission.

Id. at 1322.        Thus, even if a speaker's opinion is sincerely held,

        the statement may nonetheless be actionable under 10b-5' s
        omissions provision if:   (i) the speaker "omits material
        facts about the issuer's inquiry into or knowledge
        concerning a statement of opinion," and (ii) "those facts
        conflict with what a reasonable investor would take from
        the statement itself."

In re BP p.l.c. Securities Litigation, MDL No. 4:10-MD-2185, 2016

WL 3090779, at *9 (S.D. Tex. May 31, 2016)                  (quoting Omnicare, 135

s.    Ct . at 13 2 9 ) .   The Omnicare Court emphasized that the latter

avenue to liability does not allow a plaintiff to circumvent the

particularity and materiality requirements of a                     fraud claim by

alleging in general terms that the defendant improperly failed to

reveal the basis for his opinion, or failed to disclose "some fact

cutting the        other way."     135    S.    Ct.    at   1329   (explaining that

"[r]easonable investors understand that opinions sometimes rest on

a weighing of competing facts; indeed, the presence of such facts

is one reason why [a speaker] may frame a statement as an opinion,

thus conveying uncertainty") .                    But the Supreme Court also

recognized that reasonable investors expect a speaker's statement

of opinion to fairly align with the                   information in his or her

possession at the time.          Id.

        In their Amended Complaint Plaintiffs allege that

        UHY' s unqualified audit reports were materially false and
        misleading because, among other things:    (a) the audits


                                         -27-
    Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 28 of 111


       were not conducted in accordance with PCAOB standards;
       and (b) EXXI's financial statements did not fairly
       present the Company's true financial position and results
       of operations and did not comply with GAAP [Generally
       Accepted Accounting Principles] . 47

In support of           their allegations      that UHY' s   audit reports were

materially false and misleading, Plaintiffs allege

       102. The Company's        financial statements did not comport
       with GAAP as they          failed to disclose the millions of
       dollars in loans           to Defendant Schiller from EXXI' s
       vendors and from a        confederate on the Board who was also
       an   affiliate  of           one  of  the   Company's   largest
       shareholders.

       103. Contrary to the Audit Report, the audit was not
       conducted in accordance with PCAOB standards.       In
       particular, PCAOB Standard AU § 316 sets forth certain
       fraud risks or red flags, including: (a) unsupported
       balances or transactions; (b) inconsistent, vague or
       implausible responses from management arising from
       inquiries or analytical procedures; (c) lack of timely
       and appropriate documents; (d) missing documents; and
       (e) evasive or unreasonable responses of management to
       audit reports.

       104. In conducting its audits of the financial statements
       in EXXI's annual reports, Defendant UHY ignored the most
       obvious of red flags, the missing documentation necessary
       to permit      the Company   to use    cash  flow hedge
       accounting. 48

       Missing from the Plaintiffs' Amended Complaint are allegations

of fact capable of proving that UHY did not subjectively believe

its audit opinions when they were issued.                Therefore, to state a

claim against UHY for its audit reports, Plaintiffs must allege,

with particularity,           facts capable of establishing that UHY knew,


       47
            Plaintiffs' Amended Complaint, Docket Entry No.           97, p.   22
~   100.
       48
            Id. at 24   §§   102-04.

                                        -28-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 29 of 111



but omitted to include in its audit reports, material facts that

contradict its opinion statements.             See In re Plains All American

Pipeline,     L.P.   Securities Litigation,       245 F.   Supp.   3d 870,    905

(S.D. Tex.     2 017) . 49   The facts that Plaintiffs allege contradict

UHY' s audit opinions concern loans that defendant Schiller received

from defendant Louie and EXXI vendors and lack of documentation

needed to support EXXI's use of hedge accounting. 50               But missing

from Plaintiffs' Amended Complaint are allegations of facts capable

of establishing that when UHY issued its audit reports, UHY knew or

should     have    known     about   Schiller's   loans.     Moreover,   since

Plaintiffs'       Amended Complaint expressly alleges that Schiller's

loans were undisclosed until October of 2015, long after UHY issued

the audit opinions about which Plaintiffs complain, 51 the facts

     49
          In Plains All American Judge Rosenthal explained that

     [s]howing that a statement was false or misleading using
     this Omnicare prong blurs the lines between the falsity
     and scienter elements of an Exchange Act claim.
     Determining whether a statement is false or misleading
     turns on what the speaker knew, making it similar to the
     scienter inquiry. But even though this Omnicare inquiry
     overlaps with the scienter inquiry, the two are not
     identical.   Here, the issue is whether the plaintiffs
     have adequately pleaded that the defendants were aware of
     material facts that:     ( 1) contradicted or undermined
     their compliance opinion statements; and ( 2) that an
     investor would reasonably believe were not true based on
     that statement. The scienter issue is the individual's
     state of mind in stating the opinion.

245 F. Supp. 3d at 905.
     50
          Plaintiffs'    Opposition to UHY' s MD,     Docket Entry No.       111,
p. 17.
     51
       Plaintiffs' Amended Complaint, Docket Entry No. 97, p. 3 , 22,
p. 4 , 24, p. 10 ~ 44.

                                        -29-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 30 of 111


alleged      in   Plaintiffs'         Amended      Complaint         contradict       their

contention that        UHY' s    audit    reports      were   false     and misleading

because they omitted information about Schiller's loans. 52

     Also     missing     from       Plaintiffs'    Amended         Complaint   are    any

allegations of fact capable of establishing that when UHY issued

its audit reports, UHY knew or should have known that EXXI lacked

documentation      needed       to    support    its    use    of    cash   flow    hedge

accounting.       Asserting that         "EXXI lacked the specific required

documentation to utilize cash flow hedge accounting, " 53 Plaintiffs

argue that

     [i] n any adequate audit, UHY would have requested or
     looked for the required documentation as part of its
     audit procedures. Had UHY done so, it immediately would
     have learned that EXXI lacked the required documentation
     for hedge accounting.    Had UHY performed any adequate
     audit, the lack of specific required documentation would
     have been obvious to it. 54

A careful review of Plaintiffs' Amended Complaint, however, only

reveals allegations that UHY's audit reports were false when made

because EXXI later restated some of its financial statements. 55

     Plaintiffs allege that in December of 2014,                       following UHY's

acquisition by BDO, EXXI engaged BDO as its successor auditor, and

     52
      See Plaintiffs' Opposition to UHY' s MD, Docket Entry No. 111,
p. 16 n.7 (apparently contradicting the allegations in ~ 102 of
Plaintiffs' Amended Complaint by stating:       "Plaintiffs do not
allege that UHY' s audits were deficient because they failed to
uncover the loans.").
     53
          Id. at 15.


     55
      See     Plaintiffs    I   Amended Complaint,            Docket    Entry No.      97   I

pp. 50-51    ~~ 239-243.

                                          -30-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 31 of 111



that in September of 2015 EXXI filed a Current Report on Form 8-K

with     the     SEC     announcing         that     the    Company's         previously       issued

consolidated financial                   statements for the years ended June 30,

2011,         2012,    2013,        and      2014,        and     for     the     quarters      ended

September 30, 2013 and 2014, December 31, 2013 and 2014, March 31,

2014 and 2015, and June 30, 2014, should no longer be relied upon

and would be restated. 56                 Plaintiffs allege that

        252. During the preparation of its annual report on
        Form 10-K for the year ended June 30, 2015, EXXI and its
        new auditor,   BDO,   determined that certain of the
        Company's oil and gas hedges did not qualify for cash
        flow hedge accounting treatment. EXXI and BDO determined
        that the Company's hedge documentation did not specify
        the hedged items and, therefore, the designations failed
        to meet the documentation requirements for cash flow
        hedge accounting treatment.

        253. As a result of that determination, EXXI was required
        to restate its previously issued consolidated financial
        statements to reflect the unrealized recognition of gains
                                                              57
        and losses on derivative financial instruments .

But missing from Plaintiffs' Amended Complaint are allegations of

fact     capable       of        establishing        that       when    UHY     issued   its   audit

reports,        UHY      knew       or    should      have        known       that   EXXI      lacked

documentation required to use cash flow hedge accounting.                                   Instead,

asserting that "[t]he lack of documentation regarding the hedged

items could not be a result of a difference of opinion between the

Company's auditors BDO and UHY as the Company disclosed that it had



        56
             Id. at 51      ~~    244-245.
        57
             Id. at 53      ~~    252-53.

                                                   -31-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 32 of 111



no documentation regarding what was being hedged, " 58 Plaintiffs

allege that UHY's audit reports were false and misleading because

absent the missing documentation the audit reports could not have

been conducted in accordance with PCAOB Auditing Standards or

Generally Accepted Auditing Standards ( "GAAS") . 59

     Despite Plaintiffs'                 assertion to the contrary,             the Current

Report     on   Form       8-K       filed   with     the   SEC   in   September     of   2015

announcing      the    restatement             did    not    state     that   EXXI   had    no

documentation regarding what was being hedged.                            Instead,    EXXI's

September 2015 Form 8-K states:

      [I] n connection with preparing its annual report on
     Form 10-K for the year ended June 30, 2015 (the "2015
     Form 10-K") management of Energy XXI Ltd. (the "Company")
     and the Audit Committee of its Board of Directors (the
     "Audit Committee") determined that the contemporaneous
     formal documentation it had historically prepared to
     support its initial designations of derivative financial
     instruments as cash flow hedges in connection with the
     Company's crude oil and natural gas hedging program did
     not meet the technical requirements to qualify for cash
     flow hedge accounting treatment in accordance with ASC
     Topic 815, Derivatives and Hedging. The primary reason
     for this determination was that the formal hedge
     documentation lacked specificity of the hedged items and,
     therefore,    the designations failed to meet hedge
     documentation requirements for cash flow hedge accounting
     treatment. 60

EXXI's disclosures in the September 2015 Form 8-K show that EXXI's

management      reached          a    judgment       different    from   that   previously


     58
          Id. at 50    ~    235 (emphasis in original) .
     59
          Id. at 50-51       ~~      237-43.
     60
      September 2, 2015, Form 8-K, Exhibit A to UHY's MD, Docket
Entry No. 101-1, p. 2.

                                               -32-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 33 of 111



reached     regarding         the   level    of    specificity             required      for    the

documentation of hedged transactions; the disclosures do not show

that EXXI had no documentation regarding what was being hedged.

Nor do EXXI's disclosures mention UHY or its auditing services as

a reason for the restatements.

       Because         Plaintiffs     fail        to        allege        facts     capable      of

establishing either that UHY did not sincerely believe the opinions

stated in its audit reports,                or that when UHY issued its audit

reports UHY knew or should have known - but failed to disclose -

material facts about its inquiry into or knowledge concerning the

opinions stated in its audit reports, and that those facts conflict

with     what   a    reasonable      investor          would       take    from    the   reports

themselves,         i.e.,     information about Schiller's loans and about

deficiencies in documentation required to support EXXI's use of

cash flow hedge accounting, Plaintiffs have failed to allege facts

capable of establishing an actionable misstatement or omission of

fact arising from the opinions expressed in UHY's audit reports.

See Omnicare, 135 S. Ct. at 1329.                 Moreover, for the reasons stated

below,    the    court      concludes   that       even       if    the    facts    alleged      in

Plaintiffs'         Amended     Complaint    were       capable       of     establishing an

actionable misstatement or omission of fact in UHY's audit reports,

Plaintiffs have failed to allege facts capable of raising a strong

inference       that    the    misstatements           or    omissions       were    made      with

scienter.



                                            -33-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 34 of 111



                         (2)    Scienter

        UHY argues that the Exchange Act claims asserted against it

should be dismissed because Plaintiffs fail to allege facts capable

of establishing a strong inference of scienter.                        Asserting that

EXXI     restated       its     financial    statements     for   fiscal     years   2011

through 2014, Plaintiffs argue that the restatements are compelling

evidence of         UHY' s      scienter because        "UHY knew,    or was    severely

reckless in not knowing, that EXXI's consolidated annual financial

statements were not prepared in accordance with GAAP and did not

fairly and accurately present the Company's financial results. " 61

Plaintiffs argue that "UHY has provided no alternative or opposing

explanation        for     certifying       financial    statements    in    which   EXXI

utilized         cash     flow     hedge    accounting      without    the     requisite

documentation of specific hedged risks. " 62

        To      adequately        plead     scienter      Plaintiffs     must     allege

circumstances supporting a                 strong inference that UHY had actual

knowledge, or recklessly disregarded, that its audit reports were

false or misleading when made or were made without a reasonable

basis.        See Lovelace, 78 F.3d at 1018-19.             Circuit courts of appeal

have found that the requirement of                  "recklessness"      in securities

fraud cases is especially stringent when a claim is made against an

outside auditor like UHY.                 See PR Diamonds, Inc. v. Chandler, 364


        61
             Plaintiffs'       Opposition to UHY' s MD,      Docket Entry No.        111,
p. 8.

        62Id.



                                             -34-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 35 of 111



F.3d 671, 693 (6th Cir. 2004)                 (collecting cases).                                             "Recklessness on

the   part      of    an   independent        auditor                  entails                      a       mental                    state                  so

culpable that it              'approximate[s]           an actual intent to aid in the

fraud being perpetrated by the audited company.'"                                                                         Id.            (quoting

Decker v. Massey-Ferguson, Ltd., 681 F.2d 111, 121 (2d Cir. 1982)).

Thus,    Plaintiffs must allege                 facts              capable of establishing not

merely that there was a deviation from accounting principles, but

        that the accounting practices were so deficient that the
        audit amounted to no audit at all, or an egregious
        refusal to see the obvious, or to investigate the
        doubtful, or that the accounting judgments which were
        made were such that no reasonable accountant would have
        made the same decisions if confronted with the same
        facts.

Id.     at   693-94        (quoting      In     re          Worlds                      of           Wonder                      Securities

Litigation,          35 F.3d 1407,       1426    (9th Cir. 1994)).                                                See also In re

Franklin Bank Corp. Securities Litigation, 782 F. Supp. 2d 364, 402

(S.D.    Tex.        2011);     In re    Dell    Inc.,                 Securities                             Litigation,                                591

F. Supp. 2d 877, 899 (W.D. Tex. 2008).

        A careful review of the Plaintiffs'                                        allegations of scienter

reveal little more than assertions that UHY's audit reports were

false because EXXI later restated certain financial information.

Courts in this circuit inferring scienter based in part on improper

accounting do           so only when other                    factors                      strongly support                                              the

inference.           See In re ArthroCare Corp. Securities Litigation, 726

F. Supp. 2d 696 (W.D. Tex. 2010)                 (improper accounting practices and

denia 1 s    of       media     reports) ;      -=I~n,__.....:r=-e=----==S~e:::.:l=-·t===-e=l...L.,---'I"-'n=c..:....--=S:<...:e=-c=-u=r..=ic..::t:..:i:..:::e::.=s

Litigation,          447   F.    Supp.    2d     693               (S.D.                 Tex.                2006)                   (improper

                                                -35-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 36 of 111



accounting practices and overstated revenues, memoranda and meeting

minutes       revealing that     the   defendants       explicitly discussed the

improper        accounting    methods,      affirmatively      chose      to   ignore

potential problems,          and dismissed an auditor who confronted them

about the improper practices) .

       Plaintiffs' Amended Complaint does not allege media reports or

internal company documents that would permit an inference that UHY

knew of or recklessly disregarded evidence that EXXI's accounting

misrepresented EXXI's financial condition.                 Instead, as reasons to

infer UHY' s      scienter,    Plaintiffs point to the magnitude of the

restatements, and to the reason for the restatements- i.e., lack

of specificity in the documentation used to support EXXI's use of

cash    flow     hedge   accounting. 63     But   the    magnitude   of    misstated

financials cannot support a            strong inference of scienter absent

allegations of facts capable of establishing either that UHY knew

or was severely reckless in not knowing of the improper accounting,

or that UHY ignored warning signs or red flags indicating that such

an inference is merited.          See ArthroCare, 726 F. Supp. 2d at 724;

Seitel, 447 F. Supp. 2d at 693.

       Asserting that "the lack of supporting documentation of EXXI' s

hedging activities [needed] to permit the Company to utilize hedge

accounting was a glaring red flag, giving UHY every reason to know

that the financial statements contained material misstatements or


       63
            Id. at 11-14.

                                          -36-
     Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 37 of 111



omissions, " 64        Plaintiffs     argue         that     "[h] ad    UHY    performed      any

adequate audit, the lack of specific required documentation would

have     been obvious        to   i.t." 65        But    Plaintiffs      do    not   plead any

specific facts capable of showing what UHY's audits entailed, how

or why they were deficient, or why there is any reason to believe

that     the     alleged     deficiencies           were    purposeful        or   reckless    as

opposed to negligent mistakes.                     Arthrocare, 726 F. Supp. 2d at 735

(citing Dell, 591 F. Supp. 2d at 903).                       Instead, Plaintiffs rely on

the circular reasoning that UHY must have acted with scienter

simply because it did not catch the lack of specific documentation

for cash flow hedge accounting later identified as the reason for

EXXI's restatements.           These allegations may support an inference of

negligent        mismanagement,       but         they     are   not   sufficient      to   make

intentional or reckless fraud at least as compelling as plausible

nonculpable explanations.               See Lormand,             565 F.3d at 254      (quoting

Tellabs, 127 S. Ct. at 2510).

        Plaintiffs'        pleading          on     this     issue      consists      of    long

explanations of the GAAP and GAAS accounting principles allegedly

violated,        followed by the conclusory statement that UHY clearly

violated        that    principle      based         solely      on    the    fact   that     the

restatement was issued. 66            But the GAAS standards acknowledge that


        64
             Id. at 14-15.
        65
             Id. at 15.
        66
         Plaintiffs' Amended Complaint, Docket Entry No. 97, pp. 20-24
~~    92-104, pp. 49-51 ~~ 231-43.

                                                  -37-
     Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 38 of 111


"even a properly planned                        .           audit may not detect a material

misstatement," AU                §   23 0. 12; thus, the mere fact that the audits did

not     catch       a     later-revised                  accounting      error     in       the    financial

statements is not conclusive.                             Arthrocare, 726 F. Supp. 2d at 735

(citing        In    re    Dell,        591         F.    Supp.    2d    at    903)          Absent     facts

specifying fraudulent intent or UHY' s                                  state of mind,            accounting

errors "merely suggest that either management or the accountant

missed something,                    and may have failed to prepare or review the

financial statements in accordance with an accepted standard of

reasonable care."                    In re Baker Hughes Securities Litigation, 136

F.    Supp.    2d 630,       649        (S.D.        Tex.    2001)        The parties dispute the

simplicity and obviousness of the misapplied accounting rules. 67

But reading the Plaintiffs' Amended Complaint and the record in the

Plaintiffs'             favor,        the Amended Complaint does                      not     sufficiently

allege that EXXI violated rules that were so clear and obvious as

to make its outside auditor either knowingly deceptive or severely

reckless        in       certifying           EXXI's         figures          on   the      SEC     filings.

Plaintiffs' factual allegations make it more plausible, or at least

as plausible,             to infer that UHY acted negligently than to infer

that     UHY    knowingly              or   recklessly            disregarded         the     presence     of

glaring accounting irregularities or other red flags                                               in EXXI' s

financial statements.

        Because Plaintiffs have                           failed to allege            facts       capable of

establishing that when UHY issued its audit reports, UHY knew - or


        67
      See Plaintiff's Opposition to UHY' s MD, Docket Entry No. 111,
pp. 9-11.

                                                          -38-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 39 of 111



was severely reckless in not knowing -                        that its audit opinions

contained statements that were false or misleading or that the

audit opinions were so deficient that they amounted to "no audit at

all,"        Plaintiffs'       allegations      against      UHY    are   not     capable     of

raising a        strong inference of scienter.                     See In re Dell Inc.,

Securities Litigation, 591 F. Supp. 2d at 900.                          That UHY failed to

discover in 2011 and 2014 accounting deficiencies that were not

found until 2015 might arguably and at most support an allegation
                                                   68
of negligence,          but not of fraud.                Accordingly,     UHY's motion to

dismiss the federal securities law claims asserted against it will

be granted and those claims will be dismissed with prejudice.


                 (b)   Defendant Griffin

        Griffin argues that the Exchange Act claims asserted against

him should be dismissed because he did not make many of the alleged

misstatements,          because he left EXXI on October 20,                     2014 -      more

than two years before the last alleged misstatement, and because

Plaintiffs         fail    to   plead      facts        capable    of   raising    a   strong

inference of scienter with respect to statements that he did make. 69

Griffin        also    joins    in   all   of   the       arguments     presented      in    the

Director Defendants' MD and in the arguments presented in Louie's



        68
       For the reasons stated in § III.A.2 (e) (3), below, the court
concludes that Plaintiffs have failed to plead facts capable of
establishing loss causation.
        69
             Griffin's MD, Docket Entry No. 102, p. 5.

                                             -39-
     Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 40 of 111



MD     with      respect       to    alleged      "related     party   transactions." 70

Plaintiffs respond that Griffin's MD should be denied because he is

liable        for   EXXI' s     false,    misleading,     and    incomplete   financial

statements, and because they have adequately alleged scienter with

respect to him. 71


                         (1)    Alleged Misstatements and Omissions

        Plaintiffs allege that Griffin served as EXXI's CFO and Board

member from the Company's inception in 2005 through and including

October 20,         2014, when EXXI announced Griffin's resignation in a

Press Release and a Current Report filed with the SEC on Form 8-K/A

on December 1,           2014,      following BOO's acquisition of UHY's Texas

practice, which had provided independent public accounting services

to EXXI. 72         Plaintiffs allege that as CFO,              Griffin signed EXXI's

quarterly and annual reports filed with the SEC on Forms 10-Q,

10-K, and 10-K/A, and that Griffin is responsible for the content

of    the      reports       that   he   signed    and   the    financial   information

contained in the Company's press releases. 73                   Plaintiffs allege that

Griffin was responsible for preparing nearly all of the financial



        70
             Id. at 5    &   n.1.
        71
      Plaintiffs' Memorandum of Law in Opposition to Defendant
D. West Griffin's Motion to Dismiss Amended Complaint ("Plaintiffs'
Opposition to Griffin's MD"), Docket Entry No. 112, pp. 7-16.
        72
             Plaintiffs' Amended Complaint, Docket Entry No. 97, p. 9             ~   39.
        73
             Id. at 9 ~~ 37-38.

                                             -40-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 41 of 111



statements that were restated after BDO became EXXI's auditor and

determined that EXXI's financial statements for 2011 through 2014

should no longer be relied upon. 74       Asserting that

      [t] he financial statements issued during Griffin's tenure
     as CEO that had to be restated after his resignation were
     the annual financial statements for the four years ended
     June 30, 2011, 2012, 2013, and 2014, and the quarterly
     financial statements for the quarters ended September 3 0,
     and December 31, 2013, March 31, 2014, and June 30,
     20141 ?S

Plaintiffs argue that these financial statements were false and

misleading because they

     were not prepared according to generally accepted
     accounting principles ( "GAAP") , including ASC Topic 815,
     which requires the reporting entity to document exactly
     what was being hedged, specifying the exact items (i.e.,
     the particular monthly well production) to utilize hedge
     accounting.         While Griffin was responsible for
     EXXI's financial reporting, the Company lacked the
     necessary documentation for its hedging program to
     utilize cash flow hedge [accounting] but did so anyhow. 76

Griffin does not plausibly argue that the financial statements he

signed that were ultimately restated did not contain statements

that were false and misleading. 77        The court concludes, therefore,


     74
      Plaintiffs' Opposition to Griffin's MD, Docket Entry No. 112,
p. 8 (citing Plaintiffs' Amended Complaint, Docket Entry No. 97,
p. 51 ~ 245).
     75
          Id. at 8.
     76
      Id. (citing Plaintiffs'        Amended    Complaint,   Docket   Entry
No. 97, pp. 17-18 ~ 77).
     77
      Griffin's MD, Docket Entry No. 102, p. 10 (arguing that
"[f]or the reasons explained in the Director Defendants' Motion to
Dismiss and Defendant Norman M.K. Louie's Motion to Dismiss the
                                                    (continued ... )

                                   -41-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 42 of 111



that Plaintiffs have pled specific facts sufficient to hold Griffin

liable for the financial statements that he signed.                                     See Janus

Capital Group, Inc. v. First Derivative Traders, 131 S. Ct. 2296,

2302 (2011)            ("For purposes of Rule 10b-5, the maker of a statement

is the person or entity with ultimate authority over the statement,

including its content and whether and how to communicate it. 11                                ).




        The court concludes, however,                   that as to statements made in

press        releases,         Plaintiffs      are   relying     on    the      group    pleading

doctrine - a doctrine abolished by the Fifth Circuit in Southland,

365 F.3d at 365.                   In Southland the Fifth Circuit held that the

PSLRA requires plaintiffs to "enlighten each defendant as to his or

her particular part in the alleged fraud,                         11
                                                                       so that         "corporate

officers may not be held responsible for unattributed corporate

statements solely on the basis of their titles.                           11
                                                                                 Id.     Specific

facts tying a corporate officer to a statement would include a

signature             on     the   document    or    particular        factual        allegations

explaining the individual 1 s involvement in the formulation of the

entire document or specific portion of the document containing the

statement.             Id.    Plaintiffs have not pled with particularity facts

capable         of     showing      that   statements     made    in     any     of     the   press

releases about which they complain are attributable to Griffin.

Instead,             Plaintiffs      attempt    to     hold   Griffin          responsible      for


        77
           continued)
             ( •••

Amended Complaint, Plaintiffs have not alleged that any statement
in those financial statements was false or misleading when made. 11 ) .

                                                -42-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 43 of 111



unattributed          corporate       statements    in   the    press    releases       based

solely on his title as CF0. 78             Accordingly, the court concludes that

Plaintiffs have not sufficiently pled specific factual allegations

linking Griffin to allegedly false and misleading statements in

EXXI's press releases.


                        (2)    Scienter

        Griffin        argues     that     "[a]s    explained      in     the     Director

Defendants' Motion to Dismiss, Plaintiffs' impermissible attempt to

plead scienter based solely on Defendants' positions within EXXI

and      alleged       GAAP     violations       mandates       dismissal        of     their

Complaint." 79         Griffin argues that the only allegations as to his

scienter are that

        (1) his "net worth was dependent upon his investment in
        EXXI stock and options," Am. Compl. ~ 42; se also id.
        ~~ 40-41; (2) he had an incentive to "protect his job,"
        id. ~ 42; and (3) he had access to unspecified "material
        non-public information," e.g., id. ~~57, 59. 80

Griffin argues that Plaintiffs fail to allege that he sold any

stock        during    the    Class    Period,     and   that    Plaintiffs'          factual

allegations           are     internally     inconsistent        about     his        alleged


        78
      Id. at 9 (citing Plaintiffs' Amended Complaint, Docket Entry
No. 97, p. 29 ~ 128, p. 34 ~ 157, and p. 36 ~ 166). See also id.
at 10 n.2 (asserting that "[s]ince Griffin was the Company's CFO,
it is far more likely that he provided the 'numbers' to [the
employee who prepared the press releases] so that they could be
incorporated in the Company's press releases").
        79
             Id. at 10.
        80
             Id. at 11.

                                            -43-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 44 of 111


motivations because they allege not only that his incentive was to

protect his job, but also that he "'resigned over a disagreement

regarding    the   Company's   financial       disclosures,     including     those

related to its ultra-deep [water]             investments and accounting for

its acquisition of EPL. '" 81     Asserting that Plaintiffs' theory of

his scienter "rests on nothing more than baseless speculation, and

is not 'at least as compelling as any opposing inference one could

draw from the facts alleged,' " 82 Griffin argues that "[t] he far more

compelling    inference   is    that,    to     the    extent   there   was    any

wrongdoing occurring within EXXI,             [his]   resignation is evidence

that he was not a participant. " 83

     Asserting that EXXI restated its financial statements for four

years,    Plaintiffs   argue   that     the    restatements     are   compelling

evidence of Griffin's scienter because

     as EXXI's [CFO]- the senior officer directly responsible
     for assuring the accuracy of EXXI's financial reporting
        Griffin undoubtedly knew the Company lacked the
     necessary documentation - i.e., it had no specific
     documents regarding the hedged items - to utilize hedge
     accounting under ASC Topic 815.     At the very least,
     Griffin was severely reckless in not knowing so. 84

Plaintiffs also argue that the following allegations support a

strong inference of Griffin's scienter:               (1) the amount of EXXI's


     81
      Id. at 12 (quoting Plaintiffs'              Amended Complaint,        Docket
Entry No. 97, p. 10 ~ 43).
     82Id.




     84
      Plaintiffs' Opposition to Griffin's MD, Docket Entry No. 112,
p. 11 (emphasis in original).

                                      -44-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 45 of 111


restatements was significant;                  (2)    EXXI's hedging activities were

unusually high; (3) Griffin knew or recklessly disregarded the fact

that EXXI delayed recognizing impairment of assets that it acquired

from EPL despite steadily declining oil and gas prices that caused

EPL to write down those same assets ahead of EXXI; and                             (4)   EXXI

lost its entire investment in EPL in a year. 85

        A complaint for violation of federal securities laws "will

survive        [a motion to dismiss]                   . only if a reasonable person

would        deem    the   inference      of   scienter        cogent   and   at   least    as

compelling as any opposing inference one could draw from the facts

alleged."           Tellabs, 127 S. Ct. at 2510.             A defendant's signature on

an SEC filing with false or misleading statements or omissions

cannot by itself support a                    strong inference of           scienter.      See

Central Laborers'           Pension Fund v.           Integrated Electrical Services

Inc.,        497 F. 3d 546,    555     (5th Cir.       2007)     ("If we were to accept

[this] proffered interpretation of Sarbanes-Oxley, scienter would

be established in every case where there was an accounting error or

auditing        mistake     made     by   a    publicly        traded   company,    thereby

eviscerating the pleading requirements for scienter set forth in

the PSLRA.")          (quoting Garfield v. NDC Health Corp., 466 F. 3d 1255,

1266     (11th Cir.        2006)).     In Central Laborers'             the Fifth Circuit

adopted        the     Eleventh      Circuit's        test     for   when   Sarbanes-Oxley

certifications, i.e., signatures on SEC filings, could support an


        85
      Id. at 14-15 (citing Plaintiffs' Amended Complaint, Docket
Entry No. 97, p. 17 ~~ 75-76, pp. 42-43 ~~ 197-201, p. 46 ~ 220.

                                               -45-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 46 of 111



inference of scienter. 86               The    "person signing the certification

[must have]         had reason to know, or should have suspected, due to

the presence of glaring accounting irregularities or other                             'red

flags, '       that       the   financial           statements    contained       material

misstatements or omissions."                  Id.

        In ArthroCare, 726 F. Supp. 2d at 716, an individual defendant

confronted with media reports providing "blatant evidence" of the

specific accounting fraud at issue nonetheless "continued to defend

[the accounting]            stridently and deny the allegations."                 Although

the plaintiffs in ArthroCare alleged accounting errors in eight

quarterly SEC filings,              and the defendant signed each filing,               the

court        held    that    only    the   two       quarterly    filings       immediately

following the detailed media reports could support an inference of

scienter.           Id.   at 724.      In Seitel,      447 F.    Supp.   2d at 693,     the

court held that the defendant's signature on SEC filings supported

a strong inference of scienter because the plaintiffs alleged not

only     improper         accounting    practices       but   also:      ( 1)   overstated


        86
      In Central Laborers' ,               4 97 F. 3d at 554,         the Fifth Circuit
explained that,

        [t] he Sarbanes-Oxley Act states that signing officers
        must certify that they are "responsible for establishing
        and maintaining internal controls [and] have designed
        such   internal   controls  to    insure   that  material
        information   relating   to   the    [company]  and   its
        consolidated subsidiaries is made known to such officers
        by others within those entities, particularly during the
        period in which the period reports are being prepared."
        15 u.s.c. § 7241(a)4).



                                              -46-
     Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 47 of 111



revenues of 15 percent for the year 2000 and 30 percent for the

first 9 months of 2001; (2) memoranda and meeting minutes revealing

that the defendants explicitly discussed the improper accounting

methods and affirmatively chose to ignore potential problems; and

(3) the dismissal of an auditor who confronted the defendants over

the improper practices.              Id.

        Plaintiffs       allege      that    Griffin        signed    SEC     filings    that

contained       false    and misleading           statements     of    EXXI' s     financial

condition because            EXXI    misapplied       the    accounting       standard      for

documenting use of cash flow hedge accounting.                              But    "the mere

publication of          inaccurate accounting           figures,       or a       failure    to

follow GAAP, without more, does not establish scienter.                            The party

must know that it is publishing materially false information, or

the     party     must       be     severely      reckless      in     publishing        such

information."          Lovelace, 78 F.3d at 1020.              To infer scienter from

accounting       errors,          courts    typically        examine    the       magnitude,

pervasiveness,         and repetition of the errors;                 the simplicity and

obviousness of the misapplied rules; and the defendant's apparent

motives for misapplying these rules.                    See, e.g., ArthroCare, 726

F.    Supp.   2d at 721       ("' [W]hen the number,           size,    timing,      nature,

frequency,       and     context      of    the     misapplication          [of   accounting

principles] or restatement are taken into account, the balance of

the    inferences       to    be    drawn    from     such    allegations         may   shift

significantly in favor of scienter.").


                                             -47-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 48 of 111


      Plaintiffs argue that the facts          they have alleged raise a

strong inference of scienter as to Griffin because EXXI misapplied

two accounting standards, i.e., the standards for documenting the

use of hedge accounting and for reporting asset impairment,                       the

resulting restatements covered four years, and the magnitude of the

restatements was significant.        Plaintiffs also allege that Griffin

was motivated to inflate EXXI's profitability to help EXXI qualify

for   listing on    the NASDAQ Global        Markets.         While    the   parties

dispute the simplicity and obviousness of the misapplied accounting

standards,    Plaintiffs'    Amended Complaint does not allege facts

capable of establishing either that the standards being violated

were so clear and obvious as          to make Griffin either knowingly

deceptive or severely reckless in certifying EXXI's SEC filings, or

severely     reckless   by   not   knowing   that    EXXI' s     accounting       was

improper.      Plaintiffs'    allegations     regarding       the     magnitude    of

EXXI's misstated financials do not support a strong inference of

scienter because "the magnitude of the error does not show that the

existence of the error was clear when it was made,"                      Schott v.

Nobilis Health Corp., 211 F. Supp. 3d 936,              955    (S.D. Tex. 2016),

and because EXXI's improper accounting did not uniformly benefit

EXXI or consistently line up with a motive to skew the accounting

results to favor EXXI's financial position. 87            See ArthroCare, 726


      87
      See UHY's MD, Docket Entry No. 101,           p. 16 (asserting without
objection from Plaintiffs:   "For fiscal            years 2012 and 2013 the
restated net income was higher than the             originally reported net
income."). See also UHY's Reply, Docket             Entry No. 119, pp. 9-12.

                                     -48-
     Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 49 of 111



F.    Supp.   2d at 724; Seitel,              447 F.    Supp.   2d at 693.      Moreover,

missing from Plaintiffs' Amended Complaint are any allegations of

specific facts connecting Griffin to the accounting violations that

led to the restatement of EXXI's financial statements.                            Nor are

there any allegations that Griffin engaged in insider trading or

stood to benefit personally from any of the alleged accounting

errors.       Plaintiffs offer no facts in support of their contention

that Griffin signed the financial statements at issue with scienter

other than the fact that,             like the senior financial managers of

every company, he had control over EXXI's accounting policies and

procedures.      See Izadj oo v. Helix Energy Solutions Group, Inc. , 23 7

F.    Supp.    3d 492,      516   {S.D.       Tex.     2017)    (find no   scienter     for

officers where there were no "glaring irregularities or red flags"

to put them on notice of material misstatements and omissions in

Sarbanes-Oxley certifications or earnings calls) .

        Plaintiffs cannot demonstrate scienter by relying either on

Griffin's position on the Board, Abrams, 292 F.3d at 432, or on the

fact that certain financial statements were restated.                        See Central

Laborers',      497   F.3d at     546         (restatement of      financial    data,   by

itself,       does    not    create       a     strong     inference   of      scienter) .

Plaintiffs' factual allegations make it more plausible or at least

as plausible to infer that when signing the SEC filings at issue

Griffin negligently relied on EXXI's accountants and auditors than

to infer that he knowingly or recklessly disregarded the presence

of glaring accounting irregularities or other red flags in EXXI's

                                              -49-
     Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 50 of 111



financial statements.             See Tellabs, 127 S. Ct. at                 2510; Central

Laborers',        497 F.3d at 555.           See also Abrams,            292 F.3d at 433

(recognizing that accounting problems that lead to a restatement of

a company's financials can "easily arise from negligence, oversight

or     simple     mismanagement,      none      of   which   rise       to   the    standard

necessary        to    support   a   securities      fraud       action")          The   court

therefore concludes that Plaintiffs'                  factual allegations are not

sufficient to raise a strong inference of scienter as to Griffin.

Accordingly, Griffin's motion to dismiss the Exchange Act claims

asserted against him will be granted and those claims will be

dismissed with prejudice.


                 (c)   Defendant Louie

        Asserting that he joined EXXI's Board on December 15, 2014,
                                                                   88
and that his term expired on December 1, 2015,                          Louie argues that

the Exchange Act claims asserted against him should be dismissed

because he did not make many of the alleged misstatements, because

Plaintiffs allege no facts requiring disclosure of his personal

loan to Schiller, and because Plaintiffs rely on group pleading and

fail     to plead facts          capable   of    raising     a    strong     inference of

scienter or loss causation. 89             Plaintiffs respond that Louie's MD

should be denied because he knew - but failed to disclose - that he


        88
      Louie's MD, Docket Entry No. 103, p. 6. See also Plaintiffs'
Amended Complaint, Docket Entry No. 97, p. 10 ~~ 44-45.
        89
             Louie' s MD, Docket Entry No. 103, p. 9.

                                           -50-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 51 of 111



had loaned $3 million to Schiller, because he signed EXXI's 2014

amended   Annual    Report   which   had    to   be   restated,   and   because

scienter and loss causation are adequately pled. 90


                   (1)   Alleged Misstatements and Omissions

     Regarding Louie plaintiffs allege:

     22.  From EXXI's founding in 2005 through and including
     October 15, 2015, Defendant Schiller            served as
     Chairman of the Board. He was stripped of that title by
     the Board on October 9, 2015, following an internal
     investigation that found he borrowed funds in 2007, 2009,
     and 2014 from personal acquaintances or their affiliates,
     certain of whom provided the Company and certain of its
     subsidiaries with services, and in 2014 he personally
     borrowed   $3   million  from Defendant Norman Louie
     ("Louie") , before Louie was appointed to the Board
     effective December 15, 2014.    At the time of the loan
     from Louie, Louie was a managing director at Mount Kellet
     Capital Management, LP, one of the Company's largest
     shareholders. The internal investigation was prompted by
     an SEC inquiry.



     44.    Defendant Louie was appointed to the Board,
     effective December 15, 2014, by Defendant Schiller and
     the rest of the Board without election by shareholders,
     to stand for election by shareholders at the 2015 annual
     meeting.   When Defendant Schiller's secret loan from
     Defendant Louie was discovered, the Board determined not
     to nominate Defendant Louie for election as a director at
     the 2015 annual meeting.

     45.    During his short tenure on the Board, Defendant
     Louie signed the Company's Amended 2014 annual report
     filed on Form 10-K/A with the SEC on December 23, 2014.
     As a signatory of the annual report issued in the name of
     the Company and not attributed to an individual author,


     90
      Plaintiffs' Memorandum of Law in Opposition to Defendant
Norman M.K. Louie's Motion to Dismiss ("Plaintiffs' Opposition to
Louie's MD"), Docket Entry No. 113, pp. 7-12.

                                     -51-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 52 of 111



      Louie is responsible for the content of the annual report
      he signed.



     269.  In the Current Report on Form 8-K, filed with the
     SEC on December 15, 2014, announcing Defendant Louie's
     appointment to the Board, Defendants caused EXXI to state
     that there were no related party transactions between
     Louie and the Company or any of its subsidiaries that
     would require disclosure pursuant to Item 404 (a) of
     Regulation S-K, 17 C.F.R. ~ 229.404(a).

     270.   That statement in the Current Report on Form 8-K
     was materially incomplete and misleading because it
     failed to disclose that (a) Louie had loaned Defendant
     Schiller $3 million and the loan was outstanding at the
     time the Form 8-K was filed, (b) Louie was at least
     indirectly interested in the hedge fund MK' s ownership of
     EXXI common stock, (c) Louie was at least indirectly
     interested in the M21K partnership between the Company
     and MK, and (d) Louie was at least indirectly interested
     in M21K's $123 million asset purchase from EXXI in 2014.
     All of those transactions were related party transactions
     requiring disclosure pursuant       to  Item 404(a)     of
                     91
     Regulation S-K.

     Louie does           not    argue   the   Form 10-K/A he       signed that was

ultimately restated did not contain statements that were false and

misleading. 92     The court concludes, therefore, that the plaintiffs

have plead specific facts sufficient to hold Louie liable for the

financial statement that he signed.                See Janus, 131 S. Ct. at 2302

("For purposes of Rule lOb- 5,                 the maker of a   statement is the

person     or   entity     with    ultimate      authority   over    the    statement,

including its content and whether and how to communicate it.").


     91
      Plaintiffs'   Amended Complaint,   Docket                     Entry    No.   97,
p. 6 ~ 22, p. 10 ~~ 44-45, and p. 56 ~~ 269-70.
     92
          Id. at 10   ~    45.

                                           -52-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 53 of 111



       Louie argues, however,               that Plaintiffs' allegations fail to

state an Exchange Act claim against him for statements made in the

December 15, 2014, Form 8-K because he did not sign that form and

cannot be held liable for the statements contained therein,                                 and

because        the   statements    in       the     Form   8 -K   are    all   true   as    the

transactions at         issue were not related-party transactions                          that

Regulation S-K, 17 C.F.R.              ~    229.404(a) require to be disclosed. 93

Plaintiffs do not dispute that Louie did not sign the Form 8-K

filed on December 15, 2014, and therefore cannot be held liable as

a maker of the statements contained therein.                            See Kerr v. Exobox

Technologies Corp., Civil Action No. H-10-4221, 2012 WL 201872, at

*11    (S.D.    Tex.   2012)    (defendant not liable under Rule lOb-S for

allegedly false statements in company's SEC filings,                            even if he

supplied the statements at                  issue,    because he did not          sign the

filings) .       See also Janus,           131 S. Ct. at 2302            ("For purposes of

Rule lOb-S, the maker of a statement is the person or entity with

ultimate authority over the statement,                      including its content and

whether and how to communicate it.").                       Nor do Plaintiffs dispute

that the transactions at issue are not "related party" transactions

that    Regulation       S-K,     17       C.F.R.     ~    229.404(a)      require    to    be

disclosed. 94


       93
            Louie' s MD, Docket Entry No. 103, pp. 7-8.
       94
      Id. at 7-9 (arguing that the transactions at issue were
either not "related party" transactions, or that Louie did not have
a material interest in them) .

                                              -53-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 54 of 111



        Citing In re Bristol Myers Sguibb Co. Securities Litigation,

586     F.    Supp.      2d 148,    160   (S.D.N.Y.    2008),     and City of Monroe

Employees Retirement System v. Bridgestone Corp., 399 F.3d 651, 670

(6th Cir. 2005), plaintiffs argue, however, that their Exchange Act

claims against Louie should not be dismissed because the Form 8-K

"statements regarding no related party transactions, which may have

been literally true under the narrow definition of 'related party,'

were, if not literally false, highly misleading," 95 and because the

Form 10-K/A that Louie signed was one of EXXI's annual reports that

had     to     be    restated. 96     Plaintiffs      argue   that   Louie's       loan   to

Schiller and involvement with entities that owned EXXI stock

        should have been disclosed to investors because they
        adversely impacted Schiller's and Louie's ability to
        manage the Company prudently and to ensure that the
        Company's public disclosures were truthful.    Schiller's
        dire financial circumstances were a strong motive for him
        to mislead investors - precisely as he did.     Likewise,
        Louie was highly motivated to inflate the value of EXXI
        stock, which secured his secret loan to Schiller, if only
        to reduce his risk of loss if Schiller defaulted on the
        loan. 97

        It is undisputed that "[w]hen an allegation of fraud is based

upon nondisclosure, there can be no fraud absent a duty to speak."

Chiarella           v.   United     States,    100    S.    Ct.   1108,     1118    (1980)

(discussing          disclosure      requirements      in   the   context    of    insider


        95
             Plaintiffs' Opposition to Louie's MD, Docket Entry No. 113,
p. 7.
        96
             Id. at 9-10.



                                              -54-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 55 of 111



trading and finding that silence is only fraudulent if there exists

a duty to disclose) .       The Bristol Myers and Bridgestone cases on

which Plaintiffs rely stand for the well established principle that

once a party makes a disclosure, even if it is literally true, the

party is under a duty to speak the full truth.           See Bristol Myers,

586 F. Supp. 2d at 160       ("even an entirely truthful statement may

provide a basis for liability if material omissions related to the

content of the statement make it -            or other statements made

materially   misleading");     Bridgestone,     399   F. 3d   at    670   ("If   a

company   'chooses   to   volunteer    such   information,'        though,   'its

disclosure must be full and fair, and courts may conclude that the

company was obliged to disclose additional material facts                    . to

the extent that the volunteered disclosure was misleading'").                See

also Rubinstein, 20 F.3d at 170 ("'a duty to speak the full truth

arises when a defendant undertakes a duty to say anything'").                But

the statements Plaintiffs allege were misleading due to Louie's

failure to disclose his loan to Schiller and his relationship to

entities that owned EXXI stock are statements made by EXXI on the

Form 8-K signed by Griffin; not statements made by Louie.

     Plaintiffs fail either to cite any authority or to allege any

facts capable of establishing that Louie had a duty to disclose

information needed to correct the allegedly misleading statements

made by EXXI and Griffin.      See In re Franklin Bank Corp. Securities

Litigation, 782 F. Supp. 2d 364, 398 (S.D. Tex. 2011), aff'd, 464

F. App' x 334   (5th Cir.    2012)   (plaintiffs failed to allege facts

capable of establishing that defendant was under a duty to correct

                                     -55-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 56 of 111



a misleading statement made by a third-party analyst) .                 Plaintiffs

also fail to allege facts capable of establishing that Louie was

the source of the information for the related-party statements in

the Form 8-K about which Plaintiffs complain, that Louie knew those

statements had been made in the Form 8-K,              that those statements

were material to the Plaintiffs' decision to purchase or to hold

(i.e., not to sell) EXXI stock, or that those statements imposed

upon Louie a duty to disclose the existence of his loan to Schiller

or his relationship to entities that owned EXXI stock.                      See In re

Securities Litigation BMC Software,            Inc.,   183 F.       Supp.    2d 860,

871 & n.21 (S.D. Tex. 2001)     (recognizing that a party generally has

no liability for misleading claims made about it by a third party

and no obligation to correct such statements, but that a party may

be liable for allegedly misleading statements made by a third-party

if   sufficiently    involved   in preparation         of   those    statements) .

Absent such allegations Plaintiffs may not maintain an Exchange Act

claim   against     Louie   arising     from    either      the     related-party

statements contained in EXXI's December 15, 2014, Form 8-K, or from

Louie's failure to disclose his loan to Schiller or his position

with respect to entities that owned EXXI stock.              See Basic Inc. v.

Levinson, 108 S. Ct. 978, 987 n.17 (1988)          ("Silence, absent a duty

to disclose, is not misleading under Rule 10b-5.").

                  (2)   Scienter

      Plaintiffs'   failure to allege facts capable of establishing

that Louie had a duty to disclose his loan to Schiller or his

                                      -56-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 57 of 111



position with respect to entities that owned EXXI stock precludes

Plaintiffs from raising a strong inference of scienter with respect

to allegedly misleading statements and/or omissions arising from

the Form 8 -K that EXXI filed on December 15,                         2014.        See In re

Centerline Holdings Co. Securities Litigation, 678 F. Supp. 2d 150,

161-62    (S.D.N.Y.        2009)     (defendants      did     not   act     with    scienter

regarding omissions "when there was no duty to disclose in the

first    place") .         Nor   have    Plaintiffs     alleged       facts    capable        of

raising      a    strong    inference      of     scienter     with    respect          to   the

Form 10-K/A that Louie signed in December of 2014 shortly after

being named to the Board because missing from Plaintiffs' Amended

Complaint are any allegations of specific facts connecting Louie to

the accounting violations that led to the restatement of EXXI's

financials.             Plaintiffs      offer   no    facts    in    support       of    their

contention that Louie signed the Form 10-K/A at issue with scienter

other than the fact that he was allegedly motivated to inflate the

market value of EXXI because his personal loan to Schiller was

purportedly secured by Schiller's EXXI shares.                      However, the law in

this circuit has long been well established that scienter in a

particular case may not be based solely on motives universal to all

corporate executives such as the desire to maintain a high stock

price.       See Indiana Electrical,              53 7 F. 3d at 544.          Plaintiffs'

factual allegations make it more plausible or at least as plausible

to   infer       that    when    signing    the      Form   10-K/A     at     issue      Louie

negligently relied on EXXI's accountants and auditors than to infer

                                            -57-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 58 of 111



that he knowingly or recklessly disregarded the presence of glaring

accounting irregularities or other red flags in EXXI's financial

statements.      See Tellabs, 127   s.   Ct. at   2510; Central Laborers',

497 F.3d at 555.         See also Abrams,   292 F.3d at 433   (recognizing

that accounting problems that lead to a restatement of a company's

financials can "easily arise from negligence, oversight or simple

mismanagement,     none of which rise to the standard necessary to

support a securities fraud action") .       The court concludes therefore

that Plaintiffs' factual allegations are not sufficient to raise a

strong inference of scienter as to Louie.


                   (3)    Loss Causation

     Louie argues that even if Plaintiffs had alleged facts capable

of establishing all the elements of their Exchange Act claims, they

"have not alleged, nor can they, that there was any loss associated

with this loan or its disclosure. " 98       Louie argues that under Dura

Pharmaceuticals, Inc. v. Broudo, 125 S. Ct. 1627, 1633-34 (2005),

     Plaintiffs must allege "that the market reacted negatively
     to a corrective disclosure, which revealed the falsity of
      [the Company's] previous representations . . . . " . . . The
     personal loan from Mr. Louie to Mr. Schiller was disclosed
     on September 29, 2015.    See Ex. C Energy XXI Ltd, Annual
     Report (Form 10-K) (Sept. 29, 2015) at 43.       Immediately
     thereafter, EXXI's price increased. See Ex. D Energy XXI
     Stock Prices (showing seven consecutive trading days of
     increases, reaching a high of $2.28 on October 8, 2015).
     Even assuming there was a prior misstatement regarding the
     personal loan - which there was not - without any alleged
     loss caused by the disclosure of Mr. Louie's personal


     98
          Louie' s MD, Docket Entry No. 103, p. 9.

                                    -58-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 59 of 111



        loan, all of Plaintiffs' claims relating to the personal
        loan must fail. 99

Plaintiffs respond only that they "have sufficiently alleged loss

causation to withstand his motion to dismiss. " 100

        Under the PSLRA Plaintiffs must prove that a defendant's act

or    omission alleged            to   have     violated        federal       securities      laws

"caused the loss for which the plaintiff seeks to recover damages."

15 U.S.C.       §    78u-4 (b) (4).     In Dura Pharmaceuticals, 125 S. Ct. at

1633-34, the Supreme Court held that loss causation incorporates

traditional elements of proximate causation and economic loss.                                 See

Amgen        Inc.    v.     Connecticut      Retirement         Plans   and     Trust       Funds,

133    S.     Ct.     1184,    1192    (2013)     (confirming       that      loss   causation

continues           to be     an element of       a    claim under        §    10 (b)) .      Loss

causation refers to a direct link between the misstatement and a

plaintiff's loss, and generally requires a corrective disclosure

relating to the challenged representations, followed by a decline

in    the     stock's       price.     See      Catogas    v.     Cyberonics,        Inc.,     292

F. App'x 311, 314              (5th Cir. 2008)         ("Plaintiffs must allege .

that the market reacted negatively to a                          corrective disclosure,

which revealed the falsity of                   [defendant's] previous representa-

tions regarding the accounting for its stock options.").                                   Because

Plaintiffs fail to allege in their Amended Complaint or to argue in


       99Id.


       100
             Plaintiffs' Opposition to Louie's MD, Docket Entry No. 113,
p. 12.

                                                -59-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 60 of 111



their brief in opposition to Louie's motion to dismiss that a

corrective disclosure about Louie's loan to Schiller caused EXXI's

stock       price    to      fall,   Plaintiffs    have    failed       to    plead    loss

causation.

        Because Plaintiffs have failed to allege facts capable of

establishing         that      Louie   made   an   actionable          misstatement      or

omission,       with      scienter,    that    caused     the    loss    of    which    the

Plaintiffs complain,             Louie's motion to dismiss              the Plaintiffs'

Exchange Act claims will be granted,                    and those claims will be

dismissed with prejudice.


               (d)     Defendant Schiller

      Schiller argues that the Exchange Act claims asserted against

him should be dismissed because Plaintiffs' Amended Complaint fails

to   allege     facts        capable   of   establishing        that    the   statements

attributed to him were false or misleading, or that he acted with

scienter.       Schiller also joins the arguments made by Louie and by

the Director Defendants that Plaintiffs' Amended Complaint fails to

allege facts capable of establishing loss causation, or that his

loans from Louie were "related party transactions." 101


                       (1)     Alleged Misstatements and Omissions

      Plaintiffs argue that

      [a] s Chairman and CEO, Schiller signed all of EXXI' s
      Annual Reports including its 2011, 2012, 2013, and 2014
      Annual Reports. ~ 21. On September 8, 2015, the Company


      101
            Schiller's MD, Docket Entry No. 104, p. 6.

                                            -60-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 61 of 111



      announced that all four annual reports should not be
      relied upon and had to be restated to eliminate hedge
      accounting from them. ~~ 83 & 89. The Company's Annual
      Reports for 2012, 2013, and 2014 also included materially
      false or misleading information about the Company's
      ultra-deep drilling activities (~~ 124-26, 132, & 242),
      and the 2014 Annual Report included materially false or
      misleading information about EXXI's acquisition of EPL
      (~~ 172 & 174).

           And third,      Schiller is tied directly to the
      Company's misstatements regarding its oil and gas
      reserves in EXXI's annual and quarterly financial
      statements.    As Plaintiffs allege, Schiller repeatedly
      pressured Company employees to include unsubstantiated
      estimates of natural gas reserves purportedly discovered
      as a result of EXXI's ultra-deep drilling program in the
      reserves reported in the quarterly and annual financial
      statements.     ~   14:1.    That pressure undermined the
      integrity   of    the     Company's financial  statements.
      ~ 142. 102


Plaintiffs argue that Schiller made false and misleading statements

on three matters:         EXXI's   ultra-deep oil    drilling activities,

EXXI's accounting for the EPL acquisition,           and EXXI's financial

condition resulting from its use of cash flow hedge accounting . 103

Schiller argues that the statements Plaintiffs attribute to him are

not   actionable because     Plaintiffs    have   failed   to allege   facts

capable of proving that the statements were,            in fact,   false or

misleading. 104     Schiller also argues that the statements for which

Plaintiffs seek to hold him liable are not actionable because they


      102
       Id. at 24-25 (citing Plaintiffs' Amended Complaint, Docket
Entry No. 97, pp. 6 ~ 21, pp. 18-20 ~~ 83 & 89, pp. 27-29 ~~ 124-
26 & 132, pp. 31-32 ~~ 141-42, p. 37 ~~ 172 & 174, and p. 51 ~ 242).
      103
        Plaintiffs' Memorandum of Law in Opposition to Defendant
John D. Schiller's Motion to Dismiss Amended Complaint ("Plaintiffs'
Opposition to Schiller's MD"), Docket Entry No. 114, pp. 9-16.
      104
            Director Defendants' MD, Docket Entry No. 105, p. 11.

                                    -61-
     Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 62 of 111



were generally forward looking statements of opinion or belief, and

because         Plaintiffs     have       failed       to     plead         facts    capable      of

establishing that he did not genuinely hold the stated opinion or

belief, that the opinion or belief contained embedded misstatements

of fact, or that he omitted material facts about his inquiry into

or    knowledge      of    information          that    would       conflict        with   what    a

reasonable investor would have understood from his comments . 105                               See

Omnicare, 135 S. Ct. at 1327-29.


                              (i)    Statements   About   EXXI's  Ultra-Deep
                                     Drilling Activities Are Not Actionable

        Plaintiffs        argue     that       they    have    plausibly            alleged    that

Schiller either made or caused EXXI to make false and misleading

statements regarding EXXI's ultra-deep drilling activities on five

separate         occasions:         (1)    a    November       7,     2012,     Press      Release

regarding the Davy Jones well production;                           (2)    EXXI's 2013 Annual

Report filed with the SEC on August 21, 2013;                             (3) comments made at

an Oil & Gas conference on October 17, 2013;                              (4) EXXI's quarterly

report for the second quarter of fiscal year 2014 filed with the

SEC on Form 10-Q on February 7,                       2014;   and     (5)    EXXI's quarterly

report for the third quarter of fiscal year 2014 filed with the SEC

on Form 10-Q on May 1, 2014. 106                 Plaintiffs argue that


        105
              Id. at 12-13.
        106
       Plaintiffs' Opposition to Schiller's MD, Docket Entry
No. 114, pp. 10-11, 18-19 (citing Plaintiffs' Amended Complaint,
Docket Entry No. 97, p. 6 ~ 21, pp • 2 8 - 3 1 ~ ~ 12 7 - 2 9 13 2 - 3 4               1           1

136-37).

                                               -62-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 63 of 111


     as Schiller knew, the Company's ultra-deep drilling
     activities were largely unsuccessful - only one of 15
     target wells identified by the joint venture ever
     produced any oil (~ 139) - and he lacked any basis for
     the upbeat statements he repeatedly made.      Plaintiffs
     substantiate their allegations that Defendants knowingly
     grossly overstated the status of the ultra-deep drilling
     activities with information provided by a former EXXI
     employee who was directly responsible for managing EXXI' s
     reserves and the Company's reserve accounting at the time
     of the Davy Jones discovery.   ~ 140.   In that capacity,
     the former employee was well positioned to know whether
     the Company possessed information to substantiate the
     stated reserves. That former employee said that when the
     Davy Jones 2 well was tested, it only produced water, not
                      107
     natural gas.


                             (A)   November 7, 2012, Press Release

     Regarding    the   November   7,   2012,    Press   Release   Plaintiffs

allege:

     On November 7, 2012, EXXI issued a press release in which
     Defendants caused the Company to state as follows:

           Within the shallow-water ultra-deep exploration
           program with McMoRan, the Davy Jones discovery
           well is proceeding toward first production and
           the company is participating in the Blackbeard
           West #2, Lomand North and Lineham Creek wells.

           The Davy Jones discovery well, the first
           shallow-water, ultra-deep sub-salt completion
           on the Gulf of Mexico shelf,        is being
           completed.   The wellbore was cleaned out to
           enable testing of all 165 feet of perforated
           sands in the Wilcox and the final steps of
           installing the wellhead are underway.   Once
           these steps are complete, flow testing is
           expected to commence.

           Completion and testing of the Davy Jones
           offset appraisal well (Davy Jones #2) is


     107
       Id. at 19 (citing Plaintiffs'            Amended Complaint,    Docket
Entry No. 97, p. 31 ~~ 138-40).

                                   -63-
     Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 64 of 111



                    expected to commence following review of
                    results from the Davy Jones discovery well. 108

           Missing from Plaintiffs' Amended Complaint are allegations of

facts capable of establishing that any of the statements in the

November 7, 2012, Press Release were false or misleading when made,

or that they were attributed to, formulated, signed, or adopted by

Schiller.            Instead, Plaintiffs merely allege that "[o]nly one of 15

target wells identified by the joint venture ever produced oil." 109

But        the     fact       that    EXXI' s    ultra-deep        drilling       activities      were

ultimately not successful is not probative of falsity.                                    See Carlton

v.    Cannon,           184    F.    Supp .     3d 428,     469    (S.D.    Tex.    2016)     ("[T]he

plaintiffs have at most alleged fraud by hindsight.                                      Courts treat

this        as     insufficient            because    it     is    based    on     'the    fact   that

something            turned         out    badly must       mean    [the]    defendant [s]        knew

earlier that it would turn out badly.'") .                                  Plaintiffs fail         to

allege contemporaneous facts capable of showing that Schiller knew

earlier material information that he chose not to disclose until

later.            Id.    (citing Abrams,          292 F.3d at 433           ("company officials

should not              be    held        responsible      for    failure    to    foresee     future

events") .              Because Plaintiffs            fail       to allege       facts    capable of

establishing either that statements contained in the November 7,

2012,        Press Release were false or that any false statements are


           108
             Plaintiffs' Amended Complaint, Docket Entry No. 97, pp. 28-
29,    ~    127.

                               ~
           109
                 Id. at 31          139.

                                                     -64-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 65 of 111


attributable to Schiller, and because Plaintiffs neither allege nor

argue that statements contained in the November 7,                                 2012,    Press

Release        misled     the       market,     the    statements      made   in    that    press

release are not actionable under the Exchange Act.                                  See In re

Azurix Corp. Securities Litigation, 198 F. Supp. 2d 862, 882 (S.D.

Tex. 2002)         (holding that statements were "not actionable because

plaintiffs         have    not        pleaded      any        facts   indicating     that     the

statements        were    untrue") ,          aff' d    sub nom.      Rosenzweig v.        Azurix

Corp., 332 F.3d 854 (5th Cir. 2003);                      Southland Securities Corp. v.

INSpire Insurance Solutions,                     Inc.,    365 F.3d 353,       365    (5th Cir.

2004)         (holding    that       facts     tying     an    officer   or   director      to   a

statement "would include a signature on the document or particular

factual allegations explaining the individual's involvement in the

formulation of either the entire document, or that specific portion

of the document" containing the false or misleading statement) .


                                           (B) EXXI's 2013 Annual Report

        Regarding EXXI's 2013 Annual Report, Plaintiffs allege:

        In its 2013 Annual Report filed with the SEC on
        August 21, 2013, Defendants caused the company to state
        that "work is ongoing to establish commercial production"
        from Davy Jones No. 1. However, when the statement was
        made, Defendants knew that Davy Jones No. 1 was not
        commercially viable. 110

Plaintiffs also allege that

        [a]s Chairman of the Board and Chief Executive Officer of
        EXXI, Defendant Schiller signed the Company's annual
        reports filed with the SEC on Form 10-K and 10-K/A. As


                                ~
        110
              Id. at 29-30          132.

                                                 -65-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 66 of 111


     a signatory of the annual reports issued in the name of
     the Company and not attributed to an individual author,
     Schiller is responsible for the content of the annual
     reports he signed. 111

     Missing from Plaintiffs' Amended Complaint are allegations of

facts capable of establishing that on August 21, 2013, when EXXI's

2013 Annual Report was filed,               work was not ongoing to establish

commercial production from Davy Jones No. 1, that Schiller knew or

did not      genuinely believe           that   work   was   ongoing   to   establish

commercial production from Davy Jones No. 1, or that Schiller had

contradictory information, i.e., information that Davy Jones No. 1

was not commercially viable.              Absent allegations of such facts, the

statements about ultra-deep drilling activities                    in EXXI' s    2013

Annual Report are not actionable against Schiller.                          See In re

Azurix Corp. Securities Litigation, 198 F. Supp. 2d at 882.


                                       (C) Statements at Oil & Gas Conference

     Regarding Schiller's October 17, 2013, statements at an Oil &

Gas Conference, Plaintiffs allege that

     [a] t an Oil & Gas conference on October 17, 2013,
     Schiller said that Davy Jones No. 1 was "too deep and too
     narrow to flow gas" but Schiller falsely stated that Davy
     Jones No. 2 had a "high probability" of producing and
     that completion of Davy Jones 2 was expected to start in
     December, 2013. 112

Plaintiffs allege that

    Defendant Schiller's "high probability" statement was
    false and misleading when it was made. As Schiller knew


                       ~
    111
           Id. at 6            21.

                           ~
     112
           Id. at 30            133.

                                            -66-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 67 of 111


        on October 17, 2013, there was no objective or empirical
        evidence, such as test results or preliminary production
        data, to support Schiller's "high probability" statement
        at that time (or ever).    Thus, on that date, Schiller
        lacked any reasonable basis for his "high probability"
        statement. 113

Plaintiffs also allege that

        [a] ccording  to  a  former   EXXI  employee     directly
        responsible for managing EXXI's reserves and the
        Company's reserve accounting at the time of the Davy
        Jones discovery, when the Davy Jones No. 2 well was
        tested, it only produced water, not natural gas.     This
        material adverse fact, though known by EXXI and the
        Individual Defendants, was not timely disclosed to
        investors, including Plaintiffs in particular. 114

        Missing from Plaintiffs' Amended Complaint are allegations of

fact capable of establishing that Schiller's statements that Davy

Jones         No.       2    had        a   "high      probability"   of   producing   or    that

completion of Davy Jones No. 2 was expected to start in December of

2013, were false,                      or that when Schiller made these statements he

either knew that they were false or did not genuinely believe them.

Plaintiffs' assertion that Schiller lacked any reasonable basis for

his "high probability" statement because he had no objective or

empirical evidence to support that statement is unavailing because

Plaintiffs              fail           to     allege    particularized     facts   capable    of

establishing that objective or empirical evidence existed that

contradicted that statement.                            In Rosenzweig, 332 F.3d at 870, the

Fifth Circuit reaffirmed its prior recognition in Rubinstein, 20

F. 3d at 169, that "(s] imply alleging that the predictive statements


        113
              Id.   ~       134.
        114
              Id. at 31            ~   140.

                                                        -67-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 68 of 111



    . did not have a reasonable basis -                  that is,         that they were

negligently made           would hardly suffice to state a claim under

Rule 10b-5.     11




     Plaintiffs, reference to an unidentified former EXXI employee

in support of their allegations that when Davy Jones No.                             2 was

tested,    it        produced   water,     not   gas,     is    unavailing        because

Plaintiffs have not alleged either when the test occurred or that

it occurred before Schiller made the statements alleged to be false

and misleading at the Oil & Gas Conference on October 17,                            2013.

Nor have plaintiffs alleged any facts capable of establishing that

Schiller knew about the test, knew the test demonstrated that Davy

Jones No. 2 was incapable of producing gas, or knew that the test

necessarily meant that completion of Davy Jones No.                            2 was not

expected to start in December of 2013.                  Because Plaintiffs do not

allege facts capable of establishing that Schiller,s statements at

the Oil & Gas Conference on October 17, 2013, were false, or that

Schiller   either        knew   those    statements      were       false    or   did   not

genuinely believe them, and because Plaintiffs neither allege nor

argue that any of those statements misled the market, Schiller,s

statements at the Oil & Gas Conference on October 17, 2013, are not

actionable       under    the   Exchange    Act.        See    In    re     Azurix   Corp.

Securities Litigation, 198 F. Supp. 2d at 882.


                                  (D)    Form 10-Qs Filed in Early 2014

     Regarding         statements on EXXI, s       Form 10 -Q         filings     for   the

second and third quarters of fiscal year 2014, Plaintiffs allege:

                                         -68-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 69 of 111



        13 6. In EXXI' s quarterly report for the period ended
        December 31, 2013, filed on Form 10-Q with the SEC on
        February 7, 2014, Defendants caused the Company to state
        that "work is ongoing to establish commercial production"
        from Davy Jones 1 and that " (o] perations to commence
        completion of the Davy Jones No. 2 well are expected
        during calendar year 2014."

        13 7. In EXXI' s quarterly report for the period ended
        March 31, 2014, filed on Form 10-Q with the SEC on May 1,
        2014, Defendants failed to mention Davy Jones No. 1, but
        maintained that Davy Jones No. 2 was "in the process of
        being completed. ,ns

        Plaintiffs argue that the statement in the Form 10-Q filed on

February 7,               2014,   that "work is ongoing to establish commercial

production" from Davy Jones No. 1 was false because Schiller had

stated at an October 17, 2013, Oil & Gas Conference that Davy Jones

No.   1       was        "too deep and too narrow to flow gas . " 116                      Schiller

replies        that        Plaintiffs      have not alleged any facts                    capable of

establishing that statements in the Form 10-Q filed on February 7,

2014, were false or misleading. 117                        Asserting that Plaintiffs have

selectively               cited   only     a    portion      of   the   Form      10-Q    filed   on

February            7,    2014,    Schiller         argues    that   when    read    in     context

together with the surrounding statements, the statement that work

was "ongoing to establish commercial production from Davy Jones 1,"

which         plaintiffs          allege       is   false     and    misleading      because      it


        115
              Id. at 30-31         ~~   136-37.
        116
       Plaintiffs' Opposition                        to     Schiller's      MD,    Docket     Entry
No. 114, pp. 10-11.
        117
       Defendant John D. Schiller, Jr.'s Reply in Support of His
Motion to Dismiss the Amended Complaint ("Schiller's Reply") ,
Docket Entry No. 122, pp. 12-13.

                                                    -69-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 70 of 111



conflicts with the statement he made on October 17, 2013, that Davy

Jones No. 1 is too deep and too narrow to flow gas is,             in fact,

consistent with his October 17, 2013, statement.         Schiller explains

that Plaintiffs

     omit an important sentence in the February 7, 2014 Form
     10Q filing in which the company truthfully disclosed that
     "work is ongoing to establish commercial production" from
     Davy Jones 1. Immediately following that sentence, the
     company stated in the 10Q:       "The operator [Freeport
     McMoRan)  is developing a fit for purpose fracture
     stimulation process" for Davy Jones 1." 118

     In pertinent part the Form 10-Q filed on February 7,              2014,

states:

     Davy Jones.    As previously reported, our operating
     partner, Freeport McMoRan, has drilled two wells in the
     Davy Jones field.   The Davy Jones No. 1 well is located
     on South Marsh Island Block 230 in 19 feet of water and
     work is ongoing to establish commercial production from
     the well. The operator currently is developing a fit for
     purpose fracture stimulation process.     The Davy Jones
     No. 2 offset appraisal well, located two and a half miles
     southwest of Davy Jones No. 1, confirmed 120 net feet of
     potential pay in multiple Wilcox sands, indicating
     continuity across the major structural features of the
     Davy Jones prospect, and also encountered 192 net feet of
     potential hydrocarbons in the Tuscaloosa and Lower
     Cretaceous carbonat.e sections.   Operations to commence
     completion of the Davy Jones No. 2 well are expected
     during calendar year 2014. 119


     118
       Id. at 13 (citing· Energy XXI (Bermuda) Limited, Form 10-Q
for the quarterly period ended December 31, 2013, Exhibit 2 to
Declaration of David M. Sheeren, Docket Entry No. 122-3).
     119
       Energy XXI (Bermuda) Limited, Form 10-Q for the quarterly
period ended December 31, 2013, p. 35, Exhibit 2 to Declaration of
David M. Sheeren, Docket: Entry No. 122-3, p. 42.   The court may
properly consider the full section of this Form 10-Q at this stage
of the case because in securities cases courts may take judicial
notice of the contents of public disclosure documents that are
                                                    (continued ... )

                                    -70-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 71 of 111



        Missing from Plaintiffs' Amended Complaint are allegations of

facts capable of establishing that when the Form 10-Q was filed on

February 7,          2014,    the work to complete Davy Jones No.               1 was not

still ongoing, that the operator was not attempting to develop a

"fit for purpose fracture stimulation process" to that well,                             or

that objective or empirical evidence existed that contradicted the

statement that Plaintiffs allege was false.                       Because Plaintiffs do

not allege facts capable of establishing that the statement that

"work is ongoing to establish commercial production"                            from Davy

Jones No. 1 made in the Form 10-Q filed on February 7, 2014, was

false,        because Plaintiffs neither allege nor argue that Schiller

did not genuinely believe that statement or had information that

contradicted it, and because Plaintiffs neither allege nor argue

that the statement about the Davy Jones No.                          1 well misled the

market, that statement will not support a claim against Schiller

under         the   Exchange    Act.        See   In   re   Azurix    Corp.     Securities

Litigation, 198 F. Supp. 2d at 882.

        Plaintiffs argue that the statements that "[o]perations to

commence completion of the Davy Jones No.                         2 well are expected

during         calendar      year   2014"    made      in   the   Form   10-Q    filed   on


        119
       ( • • • continued)
required by law to be filed and are actually filed with the SEC
with the caveat that these documents may be considered only for the
purpose of determining what statements they contain. See Lovelace,
78 F.3d at 1018 & n.1. See also Lone Star Fund V (U.S.), 594 F.3d
at 387 (holding that when considering a motion to dismiss courts
may consider documents that are "central to the claim and
referenced by the complaint").

                                              -71-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 72 of 111



February 7, 2014, and that Davy Jones No. 2 was "in the process of

being completed" made in the Form 10-Q filed on May 1, 2014, were

false because by 2014 specialized production equipment used for

ultra-deep well production had been removed from Davy Jones No. 2

and relocated to a different site,           and because an unidentified

former EXXI employee has allegedly provided information that when

Davy Jones No. 2 was tested, it produced water, not gas . 120          These

allegations are not sufficient to state a claim for violation of

the Exchange Act against Schiller because Plaintiffs have failed to

allege facts capable of establishing when the specialized equipment

was removed from the Davy Jones No.          2 site or even that it was

removed from the site before EXXI filed the Form 10-Qs at issue on

February 7,     2014,   and May 1,   2014.   Nor have Plaintiffs alleged

facts capable of establishing the type of specialized equipment

that was removed, that removal of the equipment necessarily meant

the Davy Jones No. 2 well could not be completed, or that when the

statements were made Schiller did not genuinely believe them or had

information that contradicted them.            Plaintiffs have similarly

failed to allege facts capable of establishing when the test that

allegedly produced water instead of gas occurred or even that it

occurred before EXXI filed the Form 10-Qs at issue on February 7,

2014,     and May 1,    2014.   Nor have Plaintiffs alleged any facts


        120
       Plaintiffs' Opposition to Schiller's MD, Docket Entry
No. 114, p. 11 (citing Plaintiffs' Amended Complaint, Docket Entry
No. 97, p. 31 ~~ 139-40).

                                     -72-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 73 of 111



capable of establishing that Schiller knew about the test, knew the

test demonstrated that Davy Jones No. 2 was incapable of producing

gas, or knew that the test would necessarily lead to the cessation

of ongoing efforts to complete Davy Jones No. 2.                          Absent factual

allegations         capable       of   establishing      that   when     EXXI   filed   the

Form     10-Qs      at    issue    on   February    7,    2014,    and    May   1,   2014,

operations to commence completion of the Davy Jones No. 2 well were

not expected during calendar year 2014, and that when EXXI filed

the Form 10-Q filed on May 1, 2014, Davy Jones No. 2 was not "in

the process of being completed," or that Schiller knew either that

work was not ongoing on that well or that the well was not capable

of producing gas, Schiller cannot be held liable under the Exchange

Act for the allegedly false statements regarding Davy Jones No. 2

contained in EXXI's Form 10-Qs filed on February 7, 2014, or May 1,

2014.         See    In    re     Azurix    Corp.     Securities       Litigation,      198

F. Supp. 2d at 882.


                                ( ii) Statements About EXXI' s Accounting For
                                      The EPL Acquisition Are Not Actionable

        Asserting that Schiller caused EXXI to buy EPL in 2014 to turn

around the Company's stagnant growth and sagging stock price, 121

Plaintiffs argue that

        [a] year earlier, the Company decided that EPL was
        overpriced.  ~~ 149 & 160.   However, Schiller was so
        desperate to deliver any purportedly good news to the


        121
       Id. at 19-20 (citing Plaintiffs' Amended Complaint, Docket
Entry No. 97, p. 33 ~ 147). See also id. at 11-15.

                                            -73-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 74 of 111



     market that he rushed the Company to complete the $2
     billion purchase       its largest by far        without
     conducting any due diligence. ~ 153. The haste in which
     Schiller forced EXXI to buy EPL was matched by the haste
     in which the purchase soured: less than a year after
     buying EPL,    the assets EXXI acquired had become
     worthless. ~~ 220-21.

          After EXXI acquired EPL, the Company and its
     subsidiary reported financial results side-by-side.
     Quarter after quarter, EPL wrote down assets as impaired,
     only to have EXXI delay doing so by one quarter.     Each
     time, EXXI wrote down the exact same impairment charge
     one quarter after EPL did so.   EXXI has never explained
     the reason for its delayed recognition of the impairment
     charge . 122

     Plaintiffs'         allegations          that      Schiller      rushed     the    EPL

acquisition, caused EXXI to overpay for EPL, and was so desperate

to bring good news to the market that he failed to do any due

diligence, are not supported by allegations of particularized facts

capable    of     establishing         that     any     statements     about     the    EPL

acquisition attributable to Schiller were false or misleading, or

that Schiller failed to disclose information needed to make his EPL

statements not misleading.             Even assuming that such facts were pled

with specificity, the "failure to engage in due diligence before

closing an acquisition does not automatically support an inference

of fraud."        Schiller v.          Physicians Resource Group,              Inc.,   2002

WL 318441,       *11   (N.D.    Tex.    February 26,       2002)     (citing Brogen v.

Pohlad,    933    F.    Supp.    793,     799     (D.   Minn.      1995)   (failing     "to

adequately investigate the merits of a potential acquisition and


     122
       Id.  See also Plaintiffs' Amended Complaint, Docket Entry
No. 97, pp. 32-49 ~~ 144-230.

                                           -74-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 75 of 111



subsequent steps to remedy that omission may give rise to a claim

for     negligence;      but     it    cannot    support       a    claim       for       securities

fraud") ) .

        Plaintiffs' allegations that Schiller can be held liable under

the Exchange Act for false or misleading statements because EXXI

recognized impairment charges for EPL one quarter after EPL did so

without explaining the reason for its delayed recognition, are not

supported by allegations of particularized fact.                                     Missing from

Plaintiffs' Amended Complaint are allegations of facts capable of

establishing the relevant accounting standards, how those standards

were violated, or that Schiller knew or ignored glaring red flags

that     statements      about        EPL   attributable           to    him    were        false   or

misleading when made.            Also missing from Plaintiffs' Opposition to

Schiller's       MD    is    any      argument      or    authority            for    Plaintiffs'

contention that a corporate parent has a duty to explain why its

accounting for impairment of a subsidiary's assets differs from the

subsidiary's own accounting for the same assets.                              See North Collier

Fire    Control       and Rescue District            Firefighter Pension Plan and

Plymouth County Retirement                  Association v.              MDC    Partners,        Inc. ,

No.    15 Civ.    6034      (RJS),    2016 WL 5794774,             *3,   9-11,       24     (S.D.N.Y.

2016)    (dismissing§ 10(b) claim that rested on allegations of how

management       of    parent      company      should     have         tested       and    impaired

goodwill      related       to   subsidiary) .           See   also       Harris       v.    Amtrust

Financial Services, Inc., 135 F. Supp. 3d 155, 171 (S.D.N.Y. 2015)

("The fact that Lead Plaintiff cannot tick and tie the loss and

                                             -75-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 76 of 111



loss     adjustment   expense          reported   in    AmTrust's    consolidated

financial    statement    to     the    losses    its   individual   subsidiaries

reported to insurance regulators, without more, does not plausibly

allege a misstatement.").          Because Plaintiffs do not allege facts

capable of establishing that any of EXXI's statements about EPL

were false,    or that EXXI had a duty to explain the differences

between its accounting for EPL's goodwill impairment and EPL's own

accounting for impairment of its assets; because Plaintiffs fail to

allege facts capable of establishing that Schiller either knew that

any statements about EPL attributable to him were false, or did not

genuinely believe any such statements;                  and because Plaintiffs'

neither allege nor argue that any statements about EPL misled the

market, the EPL statements about which Plaintiffs complain are not

actionable against Schiller under the Exchange Act.                    See In re

Azurix Corp. Securities Litigation, 198 F. Supp. 2d at 882.


                         (iii)     EXXI's   Financial          Statements    Are
                                   Actionable

       Asserting that "EXXI lacked the necessary documentation for

its hedging activities to utilize hedge accounting," 123 Plaintiffs

argue that

       [a]s a result, in September 2015, shortly after EXXI's
       auditor was acquired, the new auditor required the
       Company to restate more than four years of financial
       statements and to make an adjustment to its accumulated
       deficit to eliminate the effects of cash flow hedge


       123
       Id. at 15-16 (citing Plaintiffs' Amended Complaint, Docket
Entry No. 97, pp. 49-50 ~~ 234-35).

                                         -76-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 77 of 111



     accounting.    ~~ 244-45.   On September 8, 2015, EXXI
     announced that its previously issued consolidated
     financial statements for the four years ended June 30,
     2011, 2012, 2013, and 2014, and for the seven quarters
     ended September 30, 2013 and 2014, December 31, 2013 and
     2014, March 31, 2014 and 2015, and June 30, 2014- eleven
     financial statements in all - should no longer be relied
     upon, and would be restated.    ~ 245.  The announcement
     stunned Plaintiffs and other EXXI investors.   ~ 247 . 124

Plaintiffs argue that

     [a] s Chairman and CEO, Schiller signed all of EXXI' s
     Annual Reports including its 2011, 2012, 2013, and 2014
     Annual Reports. ~ 21. On September 8, 2015, the Company
     announced that all four annual reports should not be
     relied upon and had to be restated to eliminate hedge
     accounting from them. ~~ 83 & 89. The Company's Annual
     Reports for 2012, 2013, and 2014 also included materially
     false or misleading information about the Company's
     ultra-deep drilling activities (~~ 124-26, 132, & 242),
     and the 2014 Annual Report included materially false or
     misleading information about EXXI's acquisition of EPL
     (~~   172 & 174).

          And third,     Schiller is tied directly to the
     Company's misstatements regarding its oil and gas
     reserves in EXXI's annual and quarterly financial
     statements.   As Plaintiffs allege, Schiller repeatedly
     pressured Company employees to include unsubstantiated
     estimates of natural gas reserves purportedly discovered
     as a result of EXXI's ultra-deep drilling program in the
     reserves reported in the quarterly and annual financial
     statements.    ~   141.    That pressure undermined the
     integrity of     the    Company's financial  statements.
     ~   142.125

     Regarding Schiller's alleged misstatements on EXXI's oil and

gas reserves Plaintiffs allege:


     124 Id.   at (citing Plaintiffs'
                    16                       Amended Complaint,      Docket
Entry No. 97, pp. 244-45, and 247).
     125 Id.
           at 24-25 (citing Plaintiffs' Amended Complaint, Docket
Entry No. 97, p. 6 ~ 21, pp. 18-20 ~~ 83 & 89, pp. 27-30 ~~ 124-26 &
132, pp. 31-32 ~~ 141-42, p. 37 ~~ 172 & 174, and p. 51 ~ 242).

                                   -77-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 78 of 111



        141. According to the former EXXI employee, Defendant
        Schiller   pressured   Company  employees    to   include
        unsubstantiated estimates of natural gas reserves
        purportedly discovered as a result of EXXI's ultra-deep
        drilling program in the amount of reserves reported in
        the Company's quarterly and annual financial statements.
        This led to internal confrontations over accounting
        policies and practices.

        142. Although the unsubstantiated estimates of natural
        gas reserves purportedly discovered as a result of EXXI's
        ultra-deep drilling program were not included in any of
        the Company's financial statements, the pressure from
        Defendant Schiller and the confrontations it led to
        created   mistrust   between   the    Company's  internal
                                           126
        accountants and senior management.

Because         Plaintiffs        expressly      allege     that     "the   unsubstantiated

estimates of             natural      gas     reserves purportedly discovered as             a

result of EXXI's ultra-deep drilling program were not included in

any     of      the      Company's       financial       statements," 127    they   are    not

statements for which Schiller can be held liable under the Exchange

Act.          Schiller         does     not   plausibly     argue,    however,      that   the

financial statements he signed that were ultimately restated due to

EXXI's lack of specific documentation needed to support its use of

cash flow hedge accounting did not contain statements that were

false     and misleading.                The court       therefore concludes that the

Plaintiffs have pled specific facts sufficient to hold Schiller

liable for the financial statements that he signed and that were

restated            because      EXXI       improperly     utilized     cash   flow    hedge

accounting.             See Janus, 131 S. Ct. at 2302.


        126
              Plaintiffs' Amended Complaint, Docket Entry No. 97, pp. 31-
32 ~~ 141-42.
        127
              Id.   ~   142.

                                                 -78-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 79 of 111



                              (iv)       Conclusions

       For the reasons stated above,                    the court concludes that the

purportedly false and misleading statements that Plaintiffs allege

Schiller made about EXXI's ultra-deep oil drilling activities, and

EXXI' s accounting for the unsuccessful EPL acquisition will not

support        Exchange      Act     claims      against    Schiller    either     because

Plaintiffs have failed to allege facts capable of establishing that

the statements were false when made, or that to the extent they were

statements of opinion or belief, Schiller did not genuinely hold the

opinions        expressed,         the     opinions      contained     embedded     untrue

statements of fact,           or Schiller omitted material facts about his

inquiry or knowledge that would conflict with what a reasonable

investor would have understood from his statements.                       See Omnicare,

135    s. Ct. at 1327-29.                The court concludes,        however,     that the

Plaintiffs have pled particularized facts capable of establishing

Schiller's liability for false and misleading statements contained

in EXXI's financial statements that Schiller signed, that were filed

with    the     SEC,   and    that       were    restated    because   EXXI     improperly

utilized cash flow hedge accounting.                    See Janus, 131 S. Ct. at 2302.


                       (2)    Scienter

       Schiller        argues       that    "the       Amended   Complaint      should   be

dismissed for failure to allege any inference of scienter, much

less a strong one." 128            He argues that Plaintiffs' references to his



       128
             Schiller's MD, Docket Entry No. 104, p. 13.

                                                -79-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 80 of 111



desire      to maintain a      lavish lifestyle,        his    executive position

within EXXI, his signature on SEC filings that were restated, and

his   loans     from   Louie   and   EXXI     vendors    are    all   inadequate

individually or collectively -              to raise a        strong inference of

scienter. 129

      Citing Nathenson v.         Zonagen Inc.,         267   F.3d 400    (5th Cir.

2001), Plaintiffs respond that they have alleged

      several "special circumstances" that strongly support an
      inference of Schiller's scienter.    Those circumstances
      include:   (i) Schiller's prominence as EXXI's founder,
      Chairman, and CEO; (ii) the importance of the Company's
      ultra-deep drilling activities, its oil and gas reserves,
      and the EPL acquisition to EXXI's net worth and future
      prospects; (iii) the fact that Schiller himself made
      several statements regarding the Company's ultra-deep
      drilling,   its reserves,    and the EPL acquisition;
      (iv) Schiller's attempt to influence the Company's
      reserve estimates; and (v) Schiller's dependence on the
      market price for EXXI stock to meet his need for cash to
      fund his lavish lifestyle.        Those circumstances
      particularly Schillers' need to control the Company's
      disclosures to satisfy his urgent need for cash - make
      his scienter "at the very least, equally as compelling as
      any alternative inference,      and a tie favors the
      plaintiff." Lormand, 565 F. 3d at 254 (emphasis added) . 130

Plaintiffs also point to the loans that Schiller took from Louie

and from EXXI's vendors but failed to disclose to the Board or to

the market as strong inferences of scienter. 131



      129
       Id. at 13-22.           See also Schiller's Reply,             Docket Entry
No. 122, pp. 16-21.
      130
       Plaintiffs' Opposition to Schiller's                    MD,    Docket   Entry
No. 114, p. 27 (emphasis in original).
      131
            Id. at 27-31.

                                       -80-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 81 of 111



      In    Nathenson    the    Fifth     Circuit     held    that     the    individual

defendants' positions within the defendant pharmaceutical company

enhanced the scienter allegations.                Recognizing "that normally an

officer's position with a company does not suffice to create an

inference of scienter," id. at 424,                the court found a number of

special circumstances that taken together,                   sufficed to support a

different result in that case:              (1) the company was small and had

only three-dozen full-time employees; (2) it was essentially a one-

product company; and (3) the alleged misrepresentations were about

the patent protection for that single product, the company's most

crucial issue.        Id. at 425.

      The    Fifth    Circuit     and   other      courts    have     been    reluctant,

however,    to apply the limited exception recognized in Nathenson.

See   Rosenzweig,     332    F. 3d at     867-68     (rejecting       the    plaintiffs'

argument     that     "the      failure     of     Azurix's     core         business

water-privatization          projects            supports     the     inference     that

defendants knew, or recklessly disregarded, Azurix's prospects for

success" and holding that the plaintiffs must identify exactly who

supplied    the     information    or     when    they   knew   the    information");

Abrams, 292 F. 3d at 432 ("A pleading of scienter may not rest on the

inference that defendants must have been aware of the misstatement

based on their positions within the company.").                     Instead, the Fifth

Circuit has       stated that only in the            "rare case"       will a     strong

inference of scienter be drawn from an officer's position in a

company, and only when this factor combines with other,                         "special

                                          -81-
     Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 82 of 111



circumstances."           Local 731 I.B of T. Excavators and Pavers Pension

Trust Fund v. Diodes, Inc., 810 F.3d 951, 959 (5th Cir. 2016).                         The

Fifth Circuit reiterated that such circumstances may include:                        (1) a

small company in which corporate executives are more likely to be

familiar with day-to-day operations;                   (2) transactions "critical to

the company's continued vitality";                   (3) omitted information readily

apparent to the speaker; and (4) statements by the corporate officer

that are internally inconsistent.                    Id.

        Plaintiffs neither allege nor argue that facts capable of

establishing        any    of    the    special        circumstances      recognized    in

Nathenson      or   Diodes      are     present       in   this   case.     Plaintiffs'

allegations that between 2006 and 2010 EXXI completed five major

acquisitions for aggregate cash consideration of approximately $2.5

billion demonstrates            that EXXI differed substantially from the

small, single product companies at issue in Nathenson and Diodes. 132

Instead,      as special circumstances capable of allowing a                       strong

inference of scienter to be drawn from Schiller's position with the

Company,      Plaintiffs        point    to    Schiller's     prominence      as   EXXI' s


        132
       Plaintiffs' Amended Complaint, Docket Entry No. 97, p. 16
~~ 69-71.  Moreover, Schiller argues without objection that EXXI
had approximately 257 employees at the time of its bankruptcy, more
than the companies falling under the Nathenson exception. See
Schiller's Reply, Docket Entry No. 122, p. 19 & n.9 ("In connection
with its bankruptcy petition, the company sought emergency relief
to pay these employees during the course of the bankruptcy.     See
Ex. 3 to the Declaration of David M. Sheeren at p. 5 (disclosing
257 employees) .  The Court can properly take judicial notice of
that adjudicative fact.   Funk v. Stryker Corp., 631 F.3d 777, 783
(5th Cir. 2011) ." See also Carlton, 184 F. Supp. 3d at 479 (183
employees voids the Nathenson exception) .

                                              -82-
    Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 83 of 111



founder,        Chairman,    and CEO known for his lavish lifestyle,                        the

importance         of   EXXI's     ultra-deep       drilling      activities,       the     EPL

acquisition,           and oil and gas reserves to EXXI' s                 net worth and

future prospects, and the allegedly false and misleading statements

that Schiller made about these subjects, i.e., EXXI's ultra-deep

drilling activities, EPL acquisition, and gas reserves. 133                           Since,

however, for the reasons stated in§ III.A.2(d) (1) (i)-(iii), above,

the court has already concluded that Plaintiffs have failed to

plead facts capable of establishing that Schiller's statements

about EXXI's ultra-deep drilling activities, EPL acquisition, or

reserves were false or nlisleading, Plaintiffs' attempt to infer a

strong         inference    of     scienter       for    and/or     from    making        those

statements         misses    the    mark.          The    only    allegedly       false     and

misleading statements              that    the court has          found are actionable

against Schiller are the financial statements included in the EXXI

SEC filings that he signed and were later restated.

        A defendant's        signature       on     an    SEC    filing    with    false     or

misleading statements or omissions                       cannot by itself         support a

strong inference of scienter.                See Central Laborers', 497 F.3d at

555.     "[T]he mere publication of inaccurate accounting figures, or

a    failure      to    follow     GAAP,    without       more,    does    not    establish

scienter.         The party must know that it is publishing materially

false     information,       or    the party must           be    severely reckless          in


        133
              Plaintiffs'   Opposition        to    Schiller's       MD,    Docket        Entry
No. 114, p.        27.

                                            -83-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 84 of 111



publishing such information."         Lovelace, 78 F.3d at 1020.             See also

ArthroCare, 726 F. Supp. 2d at 716; Seitel, 447 F. Supp. 2d at 693.

To infer scienter from accounting errors, courts typically examine

the magnitude,      pervasiveness,    and repetition of the errors;                the

simplicity    and    obviousness     of   the    misapplied         rules;   and   the

defendant's apparent motives for misapplying these rules.                          See

ArthroCare,   726 F.    Supp.    2d at    721        (" [W]hen the number,      size,

timing, nature,     frequency,     and context of the misapplication [of

accounting principles] or restatement are taken into account, the

balance of the inferences to be drawn from such allegations may

shift significantly in favor of scienter.").                 Although Plaintiffs

have argued that the number, size, timing, nature, frequency, and

context of the misapplication [of accounting principles]                     and the

restatement raise a strong inference of scienter as to Griffin,

EXXI's CFO, Plaintiffs have made no such argument as to Schiller.

Instead,   Plaintiffs     merely     point      to    the   loans    that    Schiller

borrowed from fellow board member Louie and from EXXI vendors but

did not disclose.      But for the reasons stated in§ III.A.2(c) (1),

above, the court has already concluded that Plaintiffs have failed

to allege any facts capable of establishing that Louie -                      or now

Schiller- had a duty to disclose those loans.                   Absent a duty to

disclose, failure to disclose is not capable of raising a strong

inference of scienter.      See Chiarella v. United States, 100 S. Ct.

at 1118 ("When an allegation of fraud is based upon nondisclosure,

there can be no fraud absent a duty to speak.").

                                      -84-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 85 of 111



        Moreover, missing from Plaintiffs' Amended Complaint are any

allegations of specific facts connecting Schiller to the accounting

violations     that    led    to   the     restatement          of    EXXI's    financial

statements.    Nor are there any allegations that Schiller engaged in

insider trading or stood to benefit personally from any of the

alleged accounting errors.          Plaintiffs offer no facts in support of

their contention that Schiller signed the financial statements at

issue with scienter other than the                  fact    that,      like the senior

managers of every company, he had control over the Company.                           See

Izadj oo,   23 7 F.   Supp.   3d at 516          (find no scienter for officers

where there were no "glaring irregularities or red flags" to put

them on notice of material misstatements and omissions in Sarbanes-

Oxley    certifications       or    earnings       calls)            Plaintiffs    cannot

demonstrate scienter by relying either on Schiller's position on

the board, Abrams,      292 F.3d at 432,           or on the fact that certain

financial statements were restated.               See Central Laborers, 497 F.3d

at 546 (restatement of financial data, by itself, does not create

a strong inference of scienter).             Plaintiffs' factual allegations

make it more plausible or at least as plausible to infer that when

signing the SEC filings at issue Schiller negligently relied on

EXXI's accountants and auditors than to infer that he knowingly or

recklessly     disregarded         the    presence         of    glaring       accounting

irregularities or other red flags in EXXI's financial statements.

See Tellabs,    127   s. Ct. at          2510; Central Laborers,           497 F.3d at

555.    See also Abrams, 292 F.3d at 433 (recognizing that accounting

                                          -85-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 86 of 111



problems that lead to a restatement of a company's financials can

"easily arise from negligence, oversight or simple mismanagement,

none    of      which     rise    to   the     standard         necessary   to    support    a

securities fraud action") .                   The court concludes therefore that

Plaintiffs'        factual       allegations       are    not    sufficient      to   raise a

strong inference of scienter as to Schiller.


                        (3)    Loss Causation

       Schiller joins in and incorporates by reference arguments made

by the Director Defendants and by Louie

       that Plaintiffs failed to show that any of the alleged
       misstatements were followed by corrective disclosures
       that caused the price of the stock to drop.  Plaintiffs
       fail to plead loss causation because they do not allege
       any causal connection between the supposed fraudulent
       conduct and their purported losses. 134

Although        they    have     not   responded         directly    to   Schiller's      loss

causation argument, Plaintiffs argue that they "have sufficiently

alleged      loss       causation      to     withstand         [Schiller's]     motion     to

dismiss." 135      Citing Lormand, 565 F.3d at 256-58, and asserting that

"[l]oss causation 'is subject to the pleading standard of Federal

Rule of         [Civil]    Procedure        8 (a) (2),    rather    than the     heightened

pleading        requirement       of    Rule      9(b) ," 136    Plaintiffs      argue    that



       134
       Schiller's Reply, Docket Entry No. 122, p. 21.     See also
Schiller's MD, Docket Entry No. 104, p. 6 ("Mr. Schiller joins in
all of the arguments in The Director Defendants' Motion to Dismiss
and incorporates those arguments herein by reference.").
       135
       Plaintiffs' Opposition to Director Defendants' MD, Docket
Entry No. 115, p. 24.
       136Id.



                                               -86-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 87 of 111



"[u] nder that relaxed pleading standard,                      [they] need only allege 'a

facially        "plausible"'         connection        between       the    misstatements       or

omissions        and     their     loss." 137      Citing North            Port   Firefighters'

Pension- Local Option Plan v. Temple-Inland, Inc., 936 F. Supp. 2d

722,   761      (N.D.    Tex.      2013),   Plaintiffs argue that they "need not

plead a fact-for-fact disclosure to establish loss causation, " 138

and if the court disagrees,                  Plaintiffs "respectfully request the

opportunity         to     amend      their        complaint      to       add    such    factual

allegations in further support of loss causation." 139

       For the reasons stated in§ III.A.2(c) (3), above, with respect

to Louie,        and     in    §   III.A.2 (e) (3),      below,      with respect         to   the

Director Defendants, Plaintiffs have failed to plead loss causation

with respect to Schiller.


                         (4)    Conclusions as to Schiller

       Because Plaintiffs have failed to allege facts                                  capable of

establishing           that    Schiller made           an actionable         misstatement       or

omission,        with     scienter,         that    caused     the     loss       of   which   the

Plaintiffs' complain, Schiller's motion to dismiss the Plaintiffs'

Exchange Act claims will be granted,                         and those claims will be

dismissed with prejudice.



       137Id.

       usrd.

       139
             Id. at 25.

                                                -87-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 88 of 111



             (e)     Director Defendants

     The Director Defendants argue that the federal securities law

and fraud claims asserted against them should be dismissed because

Plaintiffs'        Amended     Complaint    fails    to    plead   an   actionable

misstatement       or      omission,   scienter,    or    loss   causation.    The

Director Defendants also argue that Plaintiffs' Amended Complaint

     fails to the extent it asserts (1) claims against the
     Director Defendants based on statements attributed to
     unspecified "Defendants" or the Company when those
     Director Defendants were not on the EXXI board and
     (2) claims barred by the five-year statute of repose or
     the prohibition on holder claims. 140


                     (1)     Alleged Misstatements and Omissions

     Asserting that the Director Defendants are Feinberg, Colvin,

Dunwoody,    Dupre,        Flannery,   Griffiths,    and LaChance,      Plaintiffs

argue that

      [a] t relevant times, each of the Director Defendants
     served as a director of EXXI. In addition to serving on
     the Board, Defendant Colvin was Chairman of the Audit
     Committee and a member of the Nomination and Governance
     Committee. ~ 48. Defendant Flannery was a member of the
     Audit Committee and the Nomination and Governance
     Committee of the Board.    ~ 49.   Defendant Dunwoody was
     Chairman of the Remuneration Committee and a member of
     the Audit Committee.   ~ 50.   Defendant Griffiths served
     on the Audit Committee and the Compensation Committee.
     ~ 51.   Defendant Feinberg was Lead Independent Director,
     Chairman of the Nomination and Governance Committee, a
     member of the Compensation Committee, and an ex officio
     member of the Audit Committee.     ~ 52.  Defendant Dupre
     was Chairman of the Compensation Committee and a member
     of the Nomination and Governance Committee.    ~ 53.



     140
       Director Defendants' MD, Docket Entry No. 105, p. 11. See
also Reply Brief in Support of the Director Defendants' Motion to
Dismiss the Amended Complaint ("Director Defendants' Reply") ,
Docket Entry No. 121, pp. 6-12.

                                         -88-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 89 of 111



            By   virtue    of   their    Board   positions   and
       responsibilities, the Director Defendants were privy to
       and participated in the creation, development, and
       reporting of the Company's financial condition; they had
       significant personal contact and familiarity with the
       Company and its senior officers and their fellow
       directors; and they were advised of and had access to
       internal   reports   and  other    non-public   data  and
       information about the Company's finances, operations, and
       sales. ~ 290. The Director Defendants were aware of the
       Company's dissemination of information to the investing
       public which they knew or recklessly disregarded was
       materially false, misleading, and incomplete.    Id.

            . . . [T] he Amended Complaint more than sufficiently
       pleads claims under the [PSLRA] , for common law fraud,
       and for breach of fiduciary duty against the Director
       Defendants.      Their motion to dismiss the Amended
       Complaint should be denied in its entirety. 141

       Plaintiffs argue that they have plausibly alleged that the

Director Defendants caused EXXI to make a                       series of materially

misleading statements about three different matters:                      EXXI's ultra-

deep     oil        drilling        activities,     EXXI' s     accounting      for      the

unsuccessful EPL acquisition,               EXXI's improper use of cash hedge

accounting,         and Schiller's secret           loan from defendant Louie. 142

Unlike        the    specific       statements     on   these    issues      made   by    or

attributed          to   Schiller,      Plaintiffs      argue   that   the    statements

regarding EXXI's ultra-deep drilling activities for which they seek

to hold the Director Defendants liable were not attributed to any

person. 143     Citing Southland, 365 F.3d at 365, Plaintiffs argue that



       141
       Plaintiffs' Opposition to Director Defendants' MD, Docket
Entry No. 115, pp. 8-10 (citing Plaintiffs' Amended Complaint,
Docket Entry No. 97, pp. 11-13 ~~ 48-53 and p. 62 ~ 290).
       142
             Id. at 12-22.
       143
             Id. at 12-13,      &   n. 5.

                                            -89-
    Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 90 of 111




"directors may be held liable for false, misleading, or incomplete

statements in corporate documents that have no stated author or are

not attributed to any individual if they are sufficiently linked to

the document or statement in question. " 144

                                  (i)     Statements  About    EXXI's  Ultra-Deep
                                          Drilling Activities Are Not Actionable

        Plaintiffs argue that they have plausibly alleged that the

Director            Defendants     caused        EXXI    to    make       false    and    misleading

statements regarding EXXI's ultra-deep oil drilling activities in

a November 7,              2012, Press Release regarding the McMoRan and Davy

Jones well production, and in EXXI's Form 10-Q filed on February 7,

2014,         for    the    period      ended December             31,    2013. 145      Plaintiffs'

allegations              regarding      the   November        7,    2012,       Press    Release    are

quoted         in    §    III.A.2 (d) (1) (i) (A),       above,          and    their    allegations

regarding the Form 10-Q filed on February 7, 2014, are quoted in

§   I I I . A . 2 (d) ( 1) ( i) (D) ,   above .     For the reasons stated in those

previous sections of this Memorandum Opinion and Order, the court

has already concluded that Plaintiffs' Amended Complaint fails to

allege facts capable of establishing that any of the statements in

either the November 7,                   2012,    Press Release,               or the February 7,

2014,     Form 10-Q about which Plaintiffs                           complain were          false   or


        144
              Id. at 12.
        145
       Id. 12-13 (citing Plaintiffs'                               Amended      Complaint,    Docket
Entry No. 97, pp. 28-29 ~ 127, and 30                          ~    136.

                                                  -90-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 91 of 111




misleading when made.             Plaintiffs'     Amended Complaint similarly

fails    to allege facts         capable of establishing that any of the

statements about EXXI' s ultra-deep drilling activities contained in

either of these documents was attributed to,                   formulated,      signed,

adopted, or used by any of the Director Defendants as conduits to

the market.        Absent      such allegations,        the   Director Defendants

cannot be held liable :for statements in either the November 7,

2012,    Press Release,        or the February 7,          2014,   Form 10-Q.       See

Azurix, 198 F. Supp. 2d at 882 (holding that statements were "not

actionable because plaintiffs have not pleaded any facts indicating

that    the   statements were untrue");            Southland,      365   F. 3d at 365

(holding that facts tying an officer or director to a statement

"would include a signature on the document or particular factual

allegations      explaining       the     individual's        involvement      in   the

formulation of either the entire document, or that specific portion

of the document") .      Also missing from Plaintiffs' Amended Complaint

are allegations of fact capable of establishing that any of the

statements contained in either the November 7, 2012, Press Release,

or     the    February    7,     2014,    Form     10-Q    mislead       the   market.

Accordingly,      the    court   concludes       that   the   Director Defendants

cannot be held liable under the Exchange Act for allegedly false

and     misleading      statements       about    EXXI's      ultra-deep       drilling

activities made in either the November 7,                  2012, Press Release or

the February 7, 2014, Form 10-Q.


                                          -91-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 92 of 111



                        ( ii) Statements About EXXI' s Accounting For
                              The EPL Acquisition Are Not Actionable

     Asserting that after EXXI acquired EPL, EPL wrote down assets

as impaired,     only to have EXXI delay doing so by one quarter, 146

that in Plaintiffs' Amended Complaint they "allege in detail the
                                                              11147
sequence of accounting for the impairment charges,                    and that

"EXXI restated financial statements that were prepared after the
                                            11148
Company acquired EPL in June [of 2014,              Plaintiffs argue that

      [t]he side-by-side comparison of EXXI's recognition of
     impairments in the Company's consolidated annual and
     quarterly financial statements with EPL's more timely
     recognition of them in its stand-along financial
     statements amply explains how and why EXXI's accounting
     for the assets acquired from EPL in the Company's
     consolidated financial statements was false, misleading,
     and incomplete.    The adequately inform the Director
     Defendants of the particular misrepresentations. 149

Citing Southland, 365 F.3d at 365, Plaintiffs argue that

    the Director Defendants are liable for the false,
    misleading, or incomplete statements in EXXI's financial
    statements because they are linked to them by virtue of
    their   ability    to    control    EXXI' s financial    dis-
    closures.       . In particular, the Director Defendants
    who were members of the Audit Committee - Colvin (Chair),
    Flannery, Dunwoody, Griffiths, and Feinberg (ex officio)
        are closely linked to the Company's financial
    statements.   As members of the Audit Committee, those
    five   Director    Defendants     recommended    the   annual
    appointment of the Company's auditor, reviewed the scope
    of the audits,       reviewed the Company's accounting
    principles,   and     reviewed   the   Company's    financial


    146
          Id. at 13.
    147Id.


    148
          Id. at 14.
    149Id.



                                   -92-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 93 of 111



         statements included in the annual and quarterly reports
         filed with the SEC.  ~ 54.  They are undoubtedly liable
         for the false and misleading financial statements. 150

         Plaintiffs' argument that the Director Defendants can be held

liable under the Exchange Act for false or misleading statements in

EXXI' s        financial        statements because       EXXI    recognized    impairment

charges for EPL one quarter after EPL did without explaining the

reason for its delayed recognition is not supported by allegations

of particularized fact.                Missing from Plaintiffs' Amended Complaint

are   allegations          of     facts   capable of      establishing the       relevant

accounting standards, how those standards were violated, or that

any of the Director Defendants knew - or ignored glaring red flags

- that EXXI' s financial statements were false and misleading due to

improper accounting for impairment of EPL's assets.                          Also missing

from Plaintiffs'            Amended Complaint is an allegation that any of

EXXI's financial statements were restated to correct misstatements

arising from a failure to properly account for the impairment of

EPL' s     assets.       Missing from Plaintiffs'               Opposition to Director

Defendants'         MD     is    any   argument    or    authority    supporting     their

contention that a corporate parent has a duty to explain why its

accounting for impairment of a subsidiary's assets differs from the

subsidiary's own accounting for impairment of the same assets.                          See

MDC Partners, 2016 WL 5794774, at *3, 9-11, 24 (dismissing§ 10(b)

claim      that     rested       on allegations     of    how management       of   parent

company         should     have     tested   and    impaired      goodwill    related    to


         150
               Id. at 14-15.

                                             -93-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 94 of 111



subsidiary).        See also Harris, 135 F. Supp. 3d at 171 ("The fact

that     Lead     Plaintiff      cannot    tick        and   tie   the    loss    and    loss

adjustment expense reported in AmTrust' s                     consolidated financial

statement to the losses its individual subsidiaries reported to

insurance regulators,            without more,         does not plausibly allege a

misstatement.").         Because Plaintiffs do not allege facts capable of

establishing that the Director Defendants made or caused EXXI to

make     any    false    or misleading          statements     about      EPL and/or      the

impairment of its assets, or that EXXI had a duty to explain the

differences between its accounting for impairment of EPL's assets

and EPL' s own accounting· for impairment of its assets, and because

Plaintiffs neither allege nor argue that any statements about EPL

misled the market, the court concludes that the Director Defendants

cannot be held liable under the Exchange Act for allegedly false

and misleading statements about EPL and/or EXXI's accounting for

impairment of EPL' s assets.               See In re Azurix Corp.                Securities

Litigation, 198 F. Supp. 2d at 882.


                            (iii)   EXXI's    Financial                Statements         Are
                                    Actionable

        Plaintiffs allege that because EXXI used hedge accounting

without required documentation,                 "EXXI was required to restate its

financial statements for the fiscal years ended June 30,                                2011,

2012,     2013,    and   2014,    and     for    the    intermediate       quarters      from

September 30,       2013 through March 31,               2015." 151      Plaintiffs argue


        151
       Id. at 16 (citing Plaintiffs'                     Amended Complaint,         Docket
Entry No. 97, pp. 19-20 ~ 89).

                                           -94-
  Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 95 of 111




that "[t] he Director Defendants cannot dispute that those erroneous

financial         statements were materially false                            and misleading when

issued. " 152         Because Plaintiffs' Amended Complaint alleges that each

of the Director Defendants signed the Company's annual reports

filed with the SEC on Forms 10-K and 10-K/A, 153 each of them can be

held liable            for      false            and misleading statements made             in those

annual reports.               The Director Defendants do not dispute that they

signed EXXI's annual reports filed with the SEC on Forms 10-K and

10-K/A and that the annual reports for fiscal years ending June 30,

2011,         2012,     2013,        and          2014   that        they   signed   and   that   were

ultimately restated did not contain statements that were false and

misleading. 154          The court concludes, therefore, that the Plaintiffs

have pled specific facts sufficient to hold the Director Defendants

liable for the financial statements that they signed containing

false and misleading statements resulting from EXXI's use of hedge

accounting.            See Janus, 131 S. Ct. at 2302 ("For purposes of Rule

lOb-S,        the maker of                   a   statement      is    the person or entity with

ultimate authority over the statement,                                 including its content and

whether and how to communicate it.").



        1s2Id.


        153
      Plaintiffs' Amended Complaint, Docket Entry No. 97, pp. 11-
13 ~ 46 (LaChance), ~ 48 (Colvin), ~ 49 (Flannery), ~ 50
(Dunwoody), ~ 51 (Griffiths), ~ 52 (Feinberg), and ~ 53 (Dupre) .
        154
              Id. a t 11     ff11   46   •


                                                         -95-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 96 of 111



                              (iv) Statements About Schiller's Loans Are Not
                                   Actionable

        Plaintiffs allege that EXXI's Form 8-K filed with the SEC on

December 15, 2014, was false and misleading because it "state[d]

that there were no related party transactions between Louie and the

Company or any of its subsidiaries that would require disclosure

pursuant to Item 404(a) of Regulation S-K," but failed to disclose

that Schiller had taken a personal loan from Louie. 155                          But for the

reasons stated in§ III.A.2(c) (1),                   above,    the court has already

concluded that          the    statement    in the      Form       8-K about which the

Plaintiffs complain was neither false nor misleading and therefore

not actionable under the Exchange Act.


                              (v)    Conclusions

        For the reasons stated above,                the court concludes that the

purportedly false and misleading statements that Plaintiffs allege

the   Director Defendants              caused    EXXI   to    make    about      ultra-deep

drilling activities, accounting for the impairment of EPL's assets,

and Schiller's secret loan from defendant Louie will not support

Exchange Act claims, but that Plaintiffs have alleged an actionable

claim     against    the      Direct    Defendants      for    false       and   misleading

statements      contained       in   EXXI' s    financial      statements          that   they

signed,      that   were      filed with       the   SEC,    and    that    were    restated

because EXXI improperly utilized cash flow hedge accounting.                              See

Janus, 131 S. Ct. at 2302.


      155
            Id. at 56   ~~    269-70.

                                           -96-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 97 of 111



                  (2)    Scienter

      Asserting that "[t]he facts of the restatements give rise to

a strong inference of scienter[,                   as]    do the facts of the

related party transaction between Louie and Schiller," 156 Plaintiffs

argue that

      the Director Defendants, particularly the four directors
      on the Nomination and Governance Committee, were severely
      reckless in not discovering Louie's loan to Schiller
      before he joined the Board.    And so, too, do the facts
      relating to the accounting for the EPL acquisition and
      EXXI's ultra-deep drilling activities. The differences
      in accounting for impairment in EXXI' s consolidated
      financial statements [for] EXXI when compared to the
      stand-alone financial statements of its subsidiary, EPL,
      cannot be attributed to any "overhaul" in accounting
      systems.     Taken together,    the sum of all these
      misstatements and omissions of material fact easily gives
      rise to the requisite strong inference of scienter . 157

      Plaintiffs allege that          the Director Defendants signed SEC

filings that contained false and misleading statements of EXXI's

financial condition because EXXI misapplied the accounting standard

for documenting use of cash flow hedge accounting.                   But "the mere

publication of     inaccurate accounting          figures,     or a    failure   to

follow GAAP, without more, does not establish scienter.                  The party

must know that it is publishing materially false information, or

the   party     must    be   severely     reckless        in   publishing      such

information."      Lovelace:_,   78    F. 3d at   1020.        See   also   Central

Laborers, 497 F.3d at 555 (recognizing that a defendant's signature


      156
       Plaintiffs' Opposition to Director Defendants' MD, Docket
Entry No. 115, p. 23.
      1s7Id.



                                       -97-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 98 of 111



on an SEC filing with false or misleading statements or omissions

cannot by itself support a strong inference of scienter) .                                  To infer

scienter     from     accounting errors,                courts         typically      examine     the

magnitude,      pervasiveness,              and      repetition         of     the   errors;      the

simplicity      and    obviousness              of    the    misapplied         rules;      and   the

defendant's apparent motives for misapplying these rules.                                         See

ArthroCare,     726    F.        Supp.    2d at       721.       Although Plaintiffs have

argued   that    the    number,           size,       timing,      nature,       frequency,       and

context of the misapplication of accounting principles and the

restatement raise a strong inference of scienter as to Griffin,

EXXI's   CFO,    plaintiffs              have    made       no   such    argument      as    to   the

Director Defendants.              Instead, Plaintiffs merely point to the loans

that Schiller borrowed from fellow Board member Louie that the

Director Defendants neither discovered nor disclosed.                                 But for the

reasons stated in           §§    III .A. 2 (c) (1) and III .A. 2 (d) (1) (iv), above,

the court has already concluded that Plaintiffs have failed to

allege any facts capable of establishing that Louie or Schiller had

a duty to disclose those loans.                      Absent a duty to disclose, failure

to   disclose    is    not        capable       of    raising      a    strong       inference    of

scienter.       See Chiarella v.                United States,           100    s. Ct. at 1118
("When an allegation of fraud is based upon nondisclosure, there

can be no fraud absent a duty to speak.").

      Moreover, missing from Plaintiffs' Amended Complaint are any

allegations of specific facts connecting the Director Defendants to

the accounting violations that led to the restatement of EXXI's

                                                 -98-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 99 of 111



financial statements.             Nor are there allegations that any of the

Director Defendants engaged in insider trading or stood to benefit

personally from any of the alleged accounting errors.                            Plaintiffs

offer no facts in support of their contention that the Director

Defendants signed the financial statements at issue with scienter

other than the fact that, like the directors of every company, they

had control over the Company.                 See Izadjoo, 237 F. Supp. 3d at 516

(find     no    scienter    for    officers         where    there    were     no   "glaring

irregularities or red flags"                 to put them on notice of material

misstatements         and omission       in Sarbanes-Oxley certifications or

earnings calls).        Plaintiffs cannot demonstrate scienter by relying

either on the Director Defendants'                    position on the Board or on

certain board committees, Abrams, 292 F.3d at 432, or on the fact

that    certain financial          statements were           restated.         See Central

Laborers,       497   F. 3d at     546   (restatement         of     financial      data,    by

itself,        does   not   create       a     strong       inference     of     scienter) .

Plaintiffs' factual allegations make it more plausible or at least

as plausible to infer that when signing the SEC filings at issue

Schiller negligently relied on EXXI' s accountants and auditors than

to infer that he knowingly or recklessly disregarded the presence

of glaring accounting irregularities or other red flags in EXXI's

financial statements.             See Tellabs, 127 S. Ct. at                 2510; Central

Laborers,       497   F.3d at     555.       See    also Abrams,       292     F.3d at      433

(recognizing that accounting problems that lead to a restatement of

a company's financials can "easily arise from negligence, oversight

                                             -99-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 100 of 111



or   simple      mismanagement,          none           of    which    rise    to   the    standard

necessary        to    support    a    securities             fraud    action")           The    court

concludes therefore that Plaintiffs'                           factual allegations are not

sufficient        to    raise a       strong        inference of            scienter as         to   the

Director Defendants.


                        (3)     Loss Causation

       The Director Defendants argue that even if Plaintiffs could

satisfy the falsity and scienter elements of their Exchange Act

claims that "[a] third, independent basis compelling dismissal is

Plaintiffs' failure to plead facts demonstrating loss causation -

that    is,     'a     causal    connection between                   the    [alleged]     material
                                                        158
misrepresentation and the loss.                 I   "         The Director Defendants argue

that    the     Plaintiffs       have   not         alleged that            there   was    any loss

associated with any of the statements or categories of statements

that Plaintiffs allege were false and misleading, i.e., statements

about EXXI's ultra-deep drilling activities, EPL, Schiller's loans,

or EXXI' s improper use of hedge accounting. 159



       158
          Director Defendants' MD, Docket Entry No. 105, p. 27.
Defendants UHY and Schiller join the Director Defendants' argument
on loss causation. See UHY's MD, Docket Entry No. 101, p. 7 & n.2
("The arguments in the motion to dismiss of the Director Defendants
are adopted for purposes of this motion to dismiss;" and n. 2,
" [w] i th respect to the securities fraud claim, UHY incorporates the
arguments regarding group pleading, loss causation, and the statute
of repose.");       Schiller's MD,    Docket Entry No.    104,   p.  6
("Mr. Schiller joins in all of the arguments in The Director
Defendants' Motion to Dismiss and incorporates those arguments
herein by reference.")
       159
             Id. at 27-29.

                                               -100-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 101 of 111



       Plaintiffs respond that they "have sufficiently alleged loss

causation to withstand [the defendants'] motion [s]                             to dismiss. " 160

Citing inter alia Lormand, 565 F.3d at 256-58, and asserting that

"[l]oss causation is subject to the pleading standard of Federal

Rule   of       [Civil]     Procedure       8 (a) (2),    rather       than     the   heightened

pleading        requirement         of     Rule    9(b) ," 161    Plaintiffs          argue   that

"[u]nder that relaxed pleading standard,                         [they] need only allege a

facially        plausible         connection        between        the     misstatements        or

omissions        and      their   loss. " 162      Citing North          Port    Firefighters'

Pension- Local Option Plan v. Temple-Inland, Inc., 936 F. Supp. 2d

722,   761      (N.D. Tex.        2013),    Plaintiffs argue that they "need not

plead a fact-for-fact disclosure to establish loss causation," 163

and if the court disagrees,                  Plaintiffs "respectfully request the

opportunity          to     amend       their     complaint       to     add     such    factual

allegations in further support of loss causation. " 164

       Under the PSLRA Plaintiffs must prove that a defendant's act

or   omission        alleged       to    have     violated       federal      securities      laws

"caused the loss for which the plaintiff seeks to recover damages."

15 U.S.C.       §   78u-4 (b) (4).         Loss causation refers to a direct link


     160 Plaintiffs' Opposition to Director Defendants' MD,                               Docket
Entry No. 115, p. 24.
       161Id.




       164 Id. at 25.

                                                -101-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 102 of 111



between the misstatement and a plaintiff's loss,                                     and generally

requires          a    corrective            disclosure       relating    to     the       challenged

representations,                followed by a decline in stock price after the

truth is revealed.                See Spitzberg v. Houston American Energy Corp.,

758       F.3d    676,      &    n.l8     (5th Cir.          2014)   (citing    In     re Williams

Securities Litigation, 558 F.3d 1130, 1137 (lOth Cir. 2009)).                                         In

Dura Pharmaceuticals, 125 S. Ct. at 1633-34, the Court held that

loss       causation        incorporates             traditional      elements        of     proximate

causation and economic                       loss.     See Amgen,        133    S.     Ct.    at    1192

(confirming that loss causation continues to be an element of a

claim under             §   10 (b)) .         The    Fifth     Circuit    has    held        that    the

Rule       8(a)       and       12(b) (6)      plausibility          pleading        standard,       not

heightened            pleading,         is     sufficient       to    plead     loss       causation.

Lormand, 565 F. 3d at 258 (" [W] e conclude that Rule 8 (a) ( 2) requires

the plaintiff to allege, in respect to loss causation, a facially

'plausible' causal relationship between the fraudulent statements

or omissions and plaintiff's economic loss, including allegations

of    a    material         misrepresentation            or     omission,      followed        by   the

leaking out of relevant or related truth about the fraud that

caused a significant part of the depreciation of the stock and

plaintiff's economic loss                                or,     as Twombly indicates,              the

complaint must allege enough facts to give rise to a reasonable

hope or expectation that discovery will reveal evidence of the

foregoing             elements       of      loss     causation."        (internal           citations

omitted)) .            A court is "not authorized or required to determine

                                                     -102-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 103 of 111



whether the plaintiff's plausible inference of loss causation is

equally or more plausible than other competing inferences, as [it]

must in assessing allegations of scienter under the PSLRA."           Id. at

267.

       In pertinent part Plaintiffs allege:

                         LOSS CAUSATION/ECONOMIC LOSS

            278.  As alleged herein, Defendants engaged in a
       scheme to deceive the investing market generally, and
       Plaintiffs in particular, and a course of conduct that
       artificially inflated EXXI's stock price and operated as
       a fraud or deceit on purchasers of EXXI stock by
       misrepresenting the Company's financial and operating
       condition and prospects as well as known trends in its
       industry.

            279.    Once Defendants' misrepresentations and
       fraudulent conduct were disclosed to the market, EXXI's
       stock price reacted negatively as the artificial
       inflation was removed from it.     As a result of their
       purchases of EXXI stock alleged herein, and their
       decision to refrain from selling EXXI stock alleged
       herein, Plaintiffs suffered significant economic losses.

            280.   Defendants' false and misleading statements
       had the intended effect and caused EXXI stock to trade at
       artificially inflated levels at all relevant times and
       caused Plaintiffs to refrain from selling EXXI stock.

            281.  As investors and the market became aware of
       EXXI's prior misstatements and omissions and that EXXI's
       actual financial condition and business prospects were,
       in fact, not as represented, EXXI's stock price reacted
       negatively substantially damaging Plaintiffs . 165
                 I




       Missing from Plaintiffs'      Amended Complaint are allegations

that identify any corrective disclosure followed by a drop in the

price of EXXI stock.         Argument as to the existence of any such


       165
       Plaintiffs    1
                         Amended Complaint, Docket Entry No.     97, p.      59
~~ 278-81.

                                    -103-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 104 of 111



disclosures is also missing from the briefs that Plaintiffs have

filed in opposition to the defendants' motions to dismiss.

       Plaintiffs allege that in September of 2015 EXXI was required

to    restate     more       than       four   years    of   financial     statements      to

eliminate the use of hedge accounting. 166                       Plaintiffs allege that

EXXI's financial statements for the years ending June 30,                             2011,

2012, 2013, 2014, and 2015, filed with the SEC on August 26, 2011,

August 9, 2012, August 21, 2013, August 28 and December 23, 2014,

and   September       29,     2015,       were   materially       false   and   misleading

because they stated that EXXI did not use hedging for speculative

or trading purposes. 167                 Plaintiffs allege that           " (u] ntil EXXI' s

financial      statements were corrected on September 29,                         2015,   the

Company's publicly filed financial                      statements for at least the

years ended[] June 30, 2011, 2012, 2013, and 2014, and for all the

intervening quarters materially misstated and did not fairly and

accurately       present      the       Company's      financial    condition      and    its

results of operations." 168              Plaintiffs do not allege that EXXI stock

price declined as a result of the disclosure that four years of

financial statements would be restated.                         The Director Defendants

argue that Plaintiffs are unable to satisfy the requirement for

pleading       loss     causation         because      EXXI's    stock    price    actually


                              ~
      166
            Id. at 17-18          77.

                         ~
      167
            Id. at 52        249.
      168
            Id. at 54    ~   257.

                                               -104-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 105 of 111



increased following disclosure in September of 2015 that certain of

EXXI's financial statements would be restated and that Schiller had

taken personal loans from Louie and from EXXI vendors. 169

         While the Fifth Circuit has recognized that courts can take

judicial       notice      of   historical       stock prices,           see   Catogas,     292

F.   App' x at 316,          the court need not do so here because it is

sufficient in considering the motions to dismiss that Plaintiffs

have      alleged     no   losses       following       the   relevant      disclosures      in

September of 2015.              See Schott,       211 F.        Supp.    3d at 946.       Since

Plaintiffs have not alleged that the restatements caused their

losses,        the   court      does    not    factor     the    restatements      into     its

analysis of loss causation.                   Instead, Plaintiffs allege that

         EXXI's disclosure that it was required to restate its
         financial statements to eliminate cash flow hedge
         accounting was materially false and misleading because it
         made it appear that the reason for the restatement was a
         mere technical deficiency in documentation, when the true
         reason for the restatement was that the Company was
         hedging for improper purposes, including speculating on
         future oil and natural gas prices or manipulating
         reported revenue and earnings. 170

But also missing             from      Plaintiffs'      Amended Complaint are             facts

capable        of    establishing         that   EXXI's         stated    reason   for      the

restatements         was     false,      or    that     the     stated    reason   for      the

restatements was ever the subject of a corrective disclosure that


         169
       Director Defendants' MD, Docket Entry No. 105, pp. 28-29
(citing Exhibit 10, EXXI stock price table, Docket Entry No. 106-
10) .
         170
           Plaintiffs' Amended Complaint, Docket Entry No. 97, pp. 54-
55   ~   259.

                                              -105-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 106 of 111



was followed by a decline in stock price.                               Accordingly, Plaintiffs

have failed to plead loss causation.

        At the end of their responsive briefing on the issue of loss

causation, Plaintiffs request leave to amend "[t]o the extent the

Court        requires                    specificity notwithstanding                        the    general

pleading requirements               of       Rule     8 (a) (2),        Plaintiffs          respectfully

request       the       opportunity to          amend        their       complaint          to    add   such

factual        allegations         in       further        support        of    loss     causation. " 171

Federal Rule of Civil Procedure 15(a) (2)                               states that "[t]he court

should freely give leave                     [to amend]           when justice so requires."

"Although Rule 15[a]              'evinces a bias in favor of granting leave to

amend,' it is not automatic."                        Matter of Southmark Corp., 88 F.3d

311,    314       (5th Cir.       1996),       cert denied,             117 S.       Ct.     686     (1997)

(quoting Dussouy v. Gulf Coast Investment Corp., 660 F.2d 594, 597

(5th Cir.          1981)).         "A decision             to     grant      leave     is    within the

discretion of the trial court.                            Its discretion,            however,        is not

broad enough to permit denial if the court lacks a substantial

reason       to    do    so. "     Id.       (citing State              of     Louisiana v.          Litton

Mortgage          Co.,    50     F.3d       1298,    1302-1303            (5th    Cir.       1995)      (per

curiam)) .          Generally,          a    district           court     errs    in     dismissing       a

complaint for failure to state a claim under Rule 12(b) (6) without

giving the plaintiff an opportunity to amend.                                    Bazrowx v. Scott,

136 F. 3d 1053,           1054     (5th Cir.)             (per curiam) ,         cert.      denied,     119


       171
       Plaintiffs' Opposition                        to     the    Director        Defendants'          MD,
Docket Entry No. 115, p. 25.

                                                    -106-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 107 of 111



S.     Ct .    15 6    ( 19 9 8) .      If,     however,       a    complaint     alleges        the

plaintiff's best case, there is no need for further amendment.                                   Id.

See also Jones v. Greninger, 188 F.3d 322, 327 (5th Cir. 1999) (per

curiam)       (dismissing plaintiff's pro se action because court could

perceive of no viable claim plaintiff could include in an amended

complaint based on the underlying facts) .                           The Fifth Circuit has

also held that in exercising its discretion, a court may consider

various        criteria       including,        inter       alia,    the    failure       to    cure

deficiencies by amendments previously allowed and futility of the

proposed amendment.                  See Whitaker v. City of Houston, Texas,                     963

F.2d 831,        836    (5th Cir. 1992)           (citing Foman v. Davis,             83 S. Ct.

227,     230      (1962)).            Because     Plaintiffs        have     already      had     an

opportunity to file an amended complaint and because the court is

persuaded        that      Plaintiffs         have    pleaded       their    best    case,       the

Plaintiffs' request for leave to amend will be denied.

B.      Control Person Liability Claims

        Plaintiffs         allege      that     the    Individual      Defendants         are   all

liable as         "controlling persons"               of     EXXI   under    §   20 (a)    of    the

Exchange Act.          Section 20(a) imposes joint and several liability on

"[e]very person who, directly or indirectly, controls any person

liable under any provision of                        this    chapter or of        any rule or

regulation thereunder" for securities fraud.                             15 U.S.C.    §   78t(a).

"Control person liability is secondary only and cannot exist in the

absence of a primary violation."                            Southland,      365 F.3d at 383.

Because the court has concluded that the Plaintiffs' primary claims

                                                -107-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 108 of 111



under§ 10(b) should be dismissed, the§ 20(a) claims will also be

dismissed under Rule 12(b) (6)                 for failure to state a claim upon

which relief can be granted.                See Izadjoo, 237 F. Supp. 3d at 520.

C.    Common Law Fraud Claims

      Plaintiffs assert claims for common law fraud against all of

the defendants . 172              Under Texas law a claimant alleging fraud must

prove the following:

       (1) that a material representation was made; (1) the
      representation was false; (3) when the representation was
      made, the speaker knew it was false or made it recklessly
      without any knowledge of the truth and as a positive
      assertion; (4) the speaker made the representation with
      the intent that the other party should act upon it;
      (5) the party acted in reliance on the representation;
      and (6) the party thereby suffered injury.

Aguaplex,      Inc. v. Rancho La Valencia,               Inc.,   297 S.W.3d 768,     774

(Tex. 2009)         (per curiam)       (quoting In re FirstMerit Bank, N.A., 52

S. W. 3d    749,     758     (Tex.    2001)) .     See   also    Flaherty   &   Crumrine

Preferred Income Fund, Inc. v. TXU Corp., 565 F.3d 200, 212-13 (5th

Cir. 2009)         (same).       Although Plaintiffs' common law fraud claim is

not   subject        to    the    heightened     "strong    inference"    standard for

pleading scienter under the                 PSLRA,   Plaintiffs are nevertheless

required to satisfy Rule 9(b), which requires them to state with

particularity             facts    supporting     each     element   of   fraud.     See

      172
       Plaintiffs' Amended Complaint, Docket Entry No. 97, pp. 66-
67 ~~ 313-320.   Although Plaintiffs' Amended Complaint does not
specify that this claim is being asserted under Texas law, both
defendants and Plaintiffs have cited and relied upon Texas law.
See Director Defendants' MD, Docket Entry No. 105, pp. 31-33 and
Plaintiffs' Opposition to the Director Defendants' MD, Docket Entry
No. 115, p. 27.

                                            -108-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 109 of 111



Benchmark Electronics, Inc. v. J.M. Huber Corp., 343 F.3d 719, 724

(5th Cir. 2003).      "'At a minimum, Rule 9 (b) requires allegations of

the    particulars     of     time,    place,         and    contents   of      the   false

representations, as well as the identity of the person making the

misrepresentation and what he obtained thereby. '"                          Id.   (quoting

Tel-Phonic Services,          Inc.    v.    TBS International,          Inc.,     975 F.2d

1134, 1139    (5th Cir. 1992)).             In other words,         the claimant must

plead the     who,    what,    when,       where,     and how of the fraud.

       Plaintiffs' common law fraud claims rest on the same alleged

misstatements underlying their Exchange Act claims and fail for the

same    reasons,     i.e.,     Plaintiffs        have       not   alleged    facts    with

particularity      showing      that       any   of    the    defendants     made     false

statements    with     scienter        that      caused      injury.        Accordingly,

defendants' motions to dismiss Plaintiffs' common law fraud claims

will be granted, and these claims will be dismissed.


D.     Breach of Fiduciary Duty Claims

       Plaintiffs assert claims for breach of fiduciary duty against

the Individual Defendants. 173             In pertinent part Plaintiffs allege

that the Individual Defendants breached their fiduciary duties of

care and loyalty to the Company and its shareholders, including the

Plaintiffs,   inter alia "by making or causing the Company to make

the    materially false and misleading statements about the Company's



       173
       Plaintiffs' Amended Complaint, Docket Entry No. 97, pp. 67-
69 ~~ 321-32.

                                           -109-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 110 of 111



financial and operating condition and prospects alleged herein." 174

Plaintiffs also allege that "[t]he Individual Defendants' breaches

of fiduciary duty were intertwined with the materially false and

misleading statements they made or caused the Company to make about

the   Company's       financial          and   operating    condition   and prospects

alleged herein. " 175         Plaintiffs'        breach of    fiduciary duty claims

rest on the same alleged misstatements underlying their Exchange

Act claims and fail for the same reasons, i.e., Plaintiffs have not

alleged facts with particularity showing that any of the defendants

made false statements that caused injury.                   Accordingly, defendants'

motions to dismiss Plaintiffs' breach of fiduciary duty claims will

be granted, and these claims will be dismissed.


                             IV.     Conclusions and Order

      For the reasons explained above,                     the court concludes that

Plaintiffs have failed to state claims for violations of                       §§   10(b)

and 20(a)        of the Securities Exchange Act of 1934                 (1934 Act),    15

U.S.C.      §§   78j (b), 78t(a), and Rule 10b-5 promulgated thereunder, 17

C.F.R.       §   240.10b-5,        for    common   law   fraud,   or    for   breach   of

fiduciary duty. 176         Accordingly, UHY LLP' s Motion to Dismiss (Docket


      174
            Id. at 68 ~ 324.
      175
            Id. at 69   ~   329.
      176
       The court has allowed the parties extraordinary leeway in
submitting lengthy briefs and other written materials in connection
with the pending motions. As the length of this Memorandum Opinion
and Order indicates, the court has expended considerable time
                                                     (continued ... )

                                               -110-
 Case 4:17-cv-03741 Document 123 Filed on 03/14/19 in TXSD Page 111 of 111



Entry No. 101) is GRANTED.       Defendant D. West Griffin's Motion to

Dismiss the Amended Complaint (Docket Entry No. 102) is GRANTED.

Defendant   Norman   M.K.   Louie's     Motion   to   Dismiss   the   Amended

Complaint   (Docket Entry No.    103)    is GRANTED.     Defendant John D.

Schiller,   Jr.'s Motion to Dismiss the Amended Complaint             (Docket

Entry No.   104)   is GRANTED.    The Director Defendants'        Motion to

Dismiss the Amended Complaint (Docket Entry No. 105) is GRANTED.

Plaintiffs' request for leave to amend is DENIED.

     SIGNED at Houston, Texas, on this the 14th day of March, 2019.




                                                         LAKE
                                           UNITED STATES DISTRICT JUDGE




     176
        ( • • • continued)

reading these papers and performing a significant amount of
independent research to be as fully informed as possible when
addressing the parties' arguments.    While, because of the sheer
volume of information presented, it is not impossible that some
arguments were overlooked, the parties should assume that failure
to expressly address a particular argument in this Memorandum
Opinion and Order reflects the court's judgment that the argument
lacked sufficient merit to warrant discussion.     Accordingly, the
court strongly discourages the parties from seeking reconsideration
based on arguments they have previously raised or that they could
have raised.

                                  -111-
